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                                                                                                  Part IV


                                                                                                  Department of Housing and Urban
                                                                                                  Development
                                                                                                  24 CFR Part 100
                                                                                                  Implementation of the Fair Housing Act’s Discriminatory Effects Standard;
                                                                                                  Final Rule
TKELLEY on DSK3SPTVN1PROD with RULES3




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                                             DEPARTMENT OF HOUSING AND                                 DATES: Effective Date: March 18, 2013.               potential claims involving
                                             URBAN DEVELOPMENT                                         FOR FURTHER INFORMATION CONTACT:                     discriminatory effects.
                                                                                                       Jeanine Worden, Associate General                       Legal Authority for the Regulation.
                                             24 CFR Part 100                                           Counsel for Fair Housing, Office of                  The legal authority for the regulation is
                                             [Docket No. FR–5508–F–02]                                 General Counsel, U.S. Department of                  found in the Fair Housing Act.
                                                                                                       Housing and Urban Development, 451                   Specifically, section 808(a) of the Act
                                             RIN 2529–AA96                                             7th Street SW., Washington, DC 20410–                gives the Secretary of HUD the
                                                                                                       0500, telephone number 202–402–5188.                 ‘‘authority and responsibility for
                                             Implementation of the Fair Housing                                                                             administering this Act.’’ (42 U.S.C.
                                                                                                       Persons who are deaf, are hard of
                                             Act’s Discriminatory Effects Standard                                                                          3608(a)). In addition, section 815 of the
                                                                                                       hearing, or have speech impairments
                                             AGENCY: Office of the Assistant                           may contact this phone number via TTY                Act provides that ‘‘[t]he Secretary may
                                             Secretary for Fair Housing and Equal                      by calling the Federal Relay Service at              make rules (including rules for the
                                             Opportunity, HUD.                                         800–877–8399.                                        collection, maintenance, and analysis of
                                             ACTION: Final rule.                                       SUPPLEMENTARY INFORMATION:                           appropriate data) to carry out this title.
                                                                                                                                                            The Secretary shall give public notice
                                                                                                       I. Executive Summary                                 and opportunity for comment with
                                             SUMMARY: Title VIII of the Civil Rights
                                             Act of 1968, as amended (Fair Housing                     A. Purpose of Regulatory Action                      respect to all rules made under this
                                             Act or Act), prohibits discrimination in                                                                       section.’’ (42 U.S.C. 3614a.) HUD also
                                                                                                          Need for the Regulation. This
                                             the sale, rental, or financing of                                                                              has general rulemaking authority, under
                                                                                                       regulation is needed to formalize HUD’s
                                             dwellings and in other housing-related                                                                         the Department of Housing and Urban
                                                                                                       long-held interpretation of the
                                             activities on the basis of race, color,                                                                        Development Act, to make such rules
                                                                                                       availability of ‘‘discriminatory effects’’
                                             religion, sex, disability, familial status,                                                                    and regulations as may be necessary to
                                                                                                       liability under the Fair Housing Act, 42
                                             or national origin.1 HUD, which is                        U.S.C. 3601 et seq., and to provide                  carry out its functions, powers, and
                                             statutorily charged with the authority                    nationwide consistency in the                        duties. (See 42 U.S.C. 3535(d).)
                                             and responsibility for interpreting and                   application of that form of liability.               B. Summary of the Major Provisions
                                             enforcing the Fair Housing Act and with                   HUD, through its longstanding
                                             the power to make rules implementing                                                                              This rule formally establishes the
                                                                                                       interpretation of the Act, and the eleven            three-part burden-shifting test for
                                             the Act, has long interpreted the Act to                  federal courts of appeals that have
                                             prohibit practices with an unjustified                                                                         determining when a practice with a
                                                                                                       addressed the issue agree that liability             discriminatory effect violates the Fair
                                             discriminatory effect, regardless of                      under the Fair Housing Act may arise
                                             whether there was an intent to                                                                                 Housing Act. Under this test, the
                                                                                                       from a facially neutral practice that has            charging party or plaintiff first bears the
                                             discriminate. The eleven federal courts                   a discriminatory effect. The twelfth
                                             of appeals that have ruled on this issue                                                                       burden of proving its prima facie case
                                                                                                       court of appeals has assumed that the                that a practice results in, or would
                                             agree with this interpretation. While                     Fair Housing Act includes
                                             HUD and every federal appellate court                                                                          predictably result in, a discriminatory
                                                                                                       discriminatory effects liability, but has            effect on the basis of a protected
                                             to have ruled on the issue have                           not decided the issue. Through four
                                             determined that liability under the Act                                                                        characteristic. If the charging party or
                                                                                                       decades of case-by-case application of               plaintiff proves a prima facie case, the
                                             may be established through proof of                       the Fair Housing Act’s discriminatory
                                             discriminatory effects, the statute itself                                                                     burden of proof shifts to the respondent
                                                                                                       effects standard by HUD and the courts,              or defendant to prove that the
                                             does not specify a standard for proving                   a small degree of variation has
                                             a discriminatory effects violation. As a                                                                       challenged practice is necessary to
                                                                                                       developed in the methodology of                      achieve one or more of its substantial,
                                             result, although HUD and courts are in                    proving a claim of discriminatory effects
                                             agreement that practices with                                                                                  legitimate, nondiscriminatory interests.
                                                                                                       liability. This inconsistency threatens to           If the respondent or defendant satisfies
                                             discriminatory effects may violate the                    create uncertainty as to how parties’
                                             Fair Housing Act, there has been some                                                                          this burden, then the charging party or
                                                                                                       conduct will be evaluated. This rule                 plaintiff may still establish liability by
                                             minor variation in the application of the                 formally establishes a three-part burden-
                                             discriminatory effects standard.                                                                               proving that the substantial, legitimate,
                                                                                                       shifting test currently used by HUD and              nondiscriminatory interest could be
                                                Through this final rule, HUD                           most federal courts, thereby providing
                                             formalizes its long-held recognition of                                                                        served by a practice that has a less
                                                                                                       greater clarity and predictability for all           discriminatory effect.
                                             discriminatory effects liability under the                parties engaged in housing transactions
                                             Act and, for purposes of providing                                                                                This rule also adds and revises
                                                                                                       as to how the discriminatory effects                 illustrations of practices that violate the
                                             consistency nationwide, formalizes a                      standard applies.
                                             burden-shifting test for determining                                                                           Act through intentional discrimination
                                                                                                          How the Rule Meets the Need. This                 or through a discriminatory effect under
                                             whether a given practice has an                           rule serves the need described above by
                                             unjustified discriminatory effect,                                                                             the standards outlined in § 100.500.
                                                                                                       establishing a consistent standard for
                                             leading to liability under the Act. This                  assessing claims that a facially neutral             C. Costs and Benefits
                                             final rule also adds to, and revises,                     practice violates the Fair Housing Act                 Because the rule does not change
                                             illustrations of discriminatory housing                   and by incorporating that standard in                decades-old substantive law articulated
                                             practices found in HUD’s Fair Housing                     HUD’s existing Fair Housing Act                      by HUD and the courts, but rather
                                             Act regulations. This final rule follows                  regulations at 24 CFR 100.500. By                    formalizes a clear, consistent,
                                             a November 16, 2011, proposed rule and                    formalizing the three-part burden-                   nationwide standard for litigating
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                                             takes into consideration comments                         shifting test for proving such liability             discriminatory effects cases under the
                                             received on that proposed rule.                           under the Fair Housing Act, the rule                 Fair Housing Act,2 it adds no additional
                                                                                                       provides for consistent and predictable              costs to housing providers and others
                                               1 This preamble uses the term ‘‘disability’’ to refer
                                                                                                       application of the test on a national                engaged in housing transactions. Rather,
                                             to what the Act and its implementing regulations
                                             term a ‘‘handicap.’’ Both terms have the same legal
                                                                                                       basis. It also offers clarity to persons
                                             meaning. See Bragdon v. Abbott, 524 U.S. 624, 631         seeking housing and persons engaged in                 2 See nn. 12, 28, supra, discussing HUD

                                             (1998).                                                   housing transactions as to how to assess             administrative decisions and federal court rulings.


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                                             the rule will simplify compliance with                   preamble to the November 16, 2011,                      required to establish liability under the
                                             the Fair Housing Act’s discriminatory                    proposed rule at 76 FR 70922–23.)                       Act.16
                                             effects standard and decrease litigation                    In formal adjudications of charges of                   HUD has interpreted the Act to
                                             associated with such claims by clearly                   discrimination under the Fair Housing                   include discriminatory effects liability
                                             allocating the burdens of proof and how                  Act over the past 20 years, HUD has                     not only in formal adjudications, but
                                             such burdens are to be met.                              consistently concluded that the Act is                  through various other means as well. In
                                                                                                      violated by facially neutral practices                  1980, for example, Senator Charles
                                             II. Background
                                                                                                      that have an unjustified discriminatory                 Mathias read into the Congressional
                                                The Fair Housing Act was enacted in                   effect on the basis of a protected                      Record a letter that the Senator had
                                             1968 (Pub. L. 90–284, codified at 42                     characteristic, regardless of intent.12 In              received from the HUD Secretary
                                             U.S.C. 3601–3619, 3631) to combat and                    one such formal adjudication, the                       describing discriminatory effects
                                             prevent segregation and discrimination                   Secretary of HUD reviewed the initial                   liability under the Act and explaining
                                             in housing, including in the sale or                     decision of a HUD administrative law                    that such liability is ‘‘imperative to the
                                             rental of housing and the provision of                   judge and issued a final order stating                  success of civil rights law
                                             advertising, lending, and brokerage                      that practices with an unjustified                      enforcement.’’ 17 In 1994, HUD joined
                                             services related to housing. The Fair                    discriminatory effect violate the Act. In               with the Department of Justice and nine
                                             Housing Act’s ‘‘Declaration of Policy’’                  that case, the Secretary found that a                   other federal regulatory and
                                             specifies that ‘‘[i]t is the policy of the               mobile home community’s occupancy                       enforcement agencies in approving and
                                             United States to provide, within                         limit of three persons per dwelling had                 adopting a policy statement that, among
                                             constitutional limitations, for fair                     a discriminatory effect on families with                other things, recognized that disparate
                                             housing throughout the United States.’’ 3                children.13 When the housing provider                   impact is among the ‘‘methods of proof
                                                                                                      appealed the Secretary’s order to the                   of lending discrimination under the
                                             Congress considered the realization of
                                                                                                      United States Court of Appeals for the                  * * * [Fair Housing] Act.’’ 18 In this
                                             this policy ‘‘to be of the highest
                                                                                                      Tenth Circuit, the Secretary of HUD                     Policy Statement on Discrimination in
                                             priority.’’ 4 The Fair Housing Act’s
                                                                                                      defended his order, arguing that                        Lending (Joint Policy Statement), HUD
                                             language prohibiting discrimination in
                                                                                                      statistics showed that the housing                      and the other regulatory and
                                             housing is ‘‘broad and inclusive;’’ 5 the
                                                                                                                                                              enforcement agencies recognized that
                                             purpose of its reach is to replace                       policy, while neutral on its face, had a
                                                                                                                                                              ‘‘[p]olicies and practices that are neutral
                                             segregated neighborhoods with ‘‘truly                    discriminatory effect on families with
                                                                                                                                                              on their face and that are applied
                                             integrated and balanced living                           children because it served to exclude
                                                                                                                                                              equally may still, on a prohibited basis,
                                             patterns.’’ 6 In commemorating the 40th                  them at more than four times the rate of
                                                                                                                                                              disproportionately and adversely affect
                                             anniversary of the Fair Housing Act and                  families without children.14 Similarly,
                                                                                                                                                              a person’s access to credit,’’ and
                                             the 20th anniversary of the Fair Housing                 on appeal of another final agency
                                                                                                                                                              provided guidance on how to prove a
                                             Amendments Act, the House of                             decision holding that a housing policy
                                                                                                                                                              disparate impact fair lending claim.19
                                             Representatives reiterated that ‘‘the                    had a disparate impact on families with
                                                                                                      children,15 the Secretary of HUD, in his                   Additionally, HUD’s interpretation of
                                             intent of Congress in passing the Fair
                                                                                                      brief defending the decision before the                 the Act is further confirmed by
                                             Housing Act was broad and inclusive, to
                                                                                                      United States Court of Appeals for the                  regulations implementing the Federal
                                             advance equal opportunity in housing                                                                             Housing Enterprises Financial Safety
                                             and achieve racial integration for the                   Ninth Circuit, discussed in detail the
                                                                                                      text and legislative history of the Act, as             and Soundness Act (FHEFSSA), in
                                             benefit of all people in the United                                                                              which HUD prohibited Fannie Mae and
                                             States.’’ 7 (See the preamble to the                     well as prior pronouncements by HUD
                                                                                                      that proof of discriminatory intent is not              Freddie Mac from engaging in mortgage
                                             November 16, 2011, proposed rule at 76                                                                           purchase activities that have a
                                             FR 70922.)                                                                                                       discriminatory effect in violation of
                                                                                                        12 See, e.g., HUD v. Twinbrook Village Apts., No.
                                                The Fair Housing Act gives HUD the                    02–00025600–0256–8, 2001 WL 1632533, at *17             FHEFSSA.20 In addressing a concern for
                                             authority and responsibility for                         (HUD ALJ Nov. 9, 2001) (‘‘A violation of the [Act]      how the impact theory might operate
                                             administering and enforcing the Act,8                    may be premised on a theory of disparate impact.’’);    under FHEFFSA, HUD explained that
                                             including the authority to conduct                       HUD v. Carlson, No. 08–91–0077–1, 1995 WL               ‘‘the disparate impact (or discriminatory
                                                                                                      365009 (HUD ALJ June 12, 1995) (‘‘A policy or
                                             formal adjudications of Fair Housing                     practice that is neutral on its face may be found to    effect) theory is firmly established by
                                             Act complaints 9 and the power to                        be violative of the Act if the record establishes a     Fair Housing Act case law’’ and
                                             promulgate rules to interpret and carry                  prima facie case that the policy or practice has a      concluded that this Fair Housing Act
                                                                                                      disparate impact on members of a protected class,       disparate impact law ‘‘is applicable to
                                             out the Act.10 In keeping with the Act’s                 and the Respondent cannot prove that the policy is
                                             ‘‘broad remedial intent,’’ 11 HUD, as the                justified by business necessity.’’); HUD v. Ross, No.   all segments of the housing marketplace,
                                             following discussion reflects, has long                  01–92–0466–18, 1994 WL 326437, at *5 (HUD ALJ           including the GSEs’’ (government-
                                             interpreted the Act to prohibit practices                July 7, 1994) (‘‘Absent a showing of business           sponsored enterprises).21 In
                                                                                                      necessity, facially neutral policies which have a
                                             that have an unjustified discriminatory                  discriminatory impact on a protected class violate
                                             effect, regardless of intent. (See also the              the Act.’’); HUD v. Carter, No. 03–90–0058–1, 1992
                                                                                                                                                                16 Brief for HUD Secretary as Respondent, Pfaff v.

                                                                                                      WL 406520, at *5 (HUD ALJ May 1, 1992) (‘‘The           HUD, No. 94–70898 (9th Cir. 1996).
                                                                                                                                                                17 126 Cong. Rec. 31,166–31,167 (1980) (statement
                                               3 42 U.S.C. 3601.                                      application of the discriminatory effects standard in
                                               4 Trafficante v. Metro. Life Ins. Co., 409 U.S. 205,   cases under the Fair Housing Act is well                of Sen. Mathias reading into the record letter of
                                                                                                      established.’’).                                        HUD Secretary).
                                             211 (1972) (internal citation omitted).                    13 HUD v. Mountain Side Mobile Estates P’ship,          18 Policy Statement on Discrimination in Lending,
                                               5 Id. at 209.
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                                                                                                      No. 08–92–0010–1, 1993 WL 307069 (HUD Sec’y             59 FR 18266, 18269 (Apr. 15, 1994) (‘‘Joint Policy
                                               6 Id. at 211.
                                                                                                      July 19, 1993), aff’d in relevant part, 56 F.3d 1243    Statement’’).
                                               7 H. Res. 1095, 110th Cong., 2d Sess., 154 Cong.
                                                                                                      (10th Cir. 1995).                                         19 Id.
                                             Rec. H2280–01 (April 15, 2008) (2008 WL 1733432).          14 Brief for HUD Secretary as Respondent,               20 See 24 CFR 81.42 (2012).
                                               8 See 42 U.S.C. 3608(a).
                                                                                                      Mountain Side Mobile Estates P’ship v. HUD, No.           21 The Secretary of HUD’s Regulation of the
                                               9 See 42 U.S.C. 3610, 3612.
                                                                                                      94–9509 (10th Cir. 1994).                               Federal National Mortgage Association (Fannie
                                               10 See 42 U.S.C. 3614a.                                  15 HUD v. Pfaff, No. 10–93–0084–8, 1994 WL            Mae) and the Federal Home Loan Mortgage
                                               11 Havens Realty Corp. v. Coleman, 455 U.S. 363,       592199, at *17 (HUD ALJ Oct. 27, 1994), rev’d on        Corporation (Freddie Mac), 60 FR 61846, 61867
                                             380 (1982).                                              other grounds, 88 F.3d 739 (9th Cir. 1996).             (Dec. 1, 1995).


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                                             promulgating this regulation, HUD also                   policies addressing domestic violence                      as do many federal courts of appeals.30
                                             emphasized the importance of the Joint                   can have a disparate impact on women                       One federal court of appeals applies a
                                             Policy Statement, explaining that ‘‘[a]ll                in violation of the Act.27                                 multi-factor balancing test,31 other
                                             the Federal financial regulatory and                        Although several of the HUD                             courts of appeals apply a hybrid
                                             enforcement agencies recognize the role                  administrative decisions, federal court                    between the two,32 and one court of
                                             that disparate impact analysis plays in                  holdings, and HUD and other federal                        appeals applies a different test for
                                             scrutiny of mortgage lending’’ and have                  agency public pronouncements on the                        public and private defendants.33
                                             ‘‘jointly recognized the disparate impact                discriminatory effects standard just                          Another source of variation in
                                             standard as a means of proving lending                   noted were discussed in the preamble to                    existing law is in the application of the
                                             discrimination under the Fair Housing                    HUD’s November 16, 2011, proposed                          burden-shifting test. Under the three-
                                             Act.’’ 22                                                rule, HUD has described these events in                    step burden-shifting approach applied
                                                Consistent with its longstanding                      the preamble to this final rule to                         by HUD and the courts, the plaintiff (or,
                                             interpretation of the Act, over the past                 underscore that this rule is not                           in administrative adjudications, the
                                             two decades, HUD has regularly issued                    establishing new substantive law.                          charging party) first must make a prima
                                             guidance to its staff that recognizes the                Rather, this final rule embodies law that                  facie showing of either a disparate
                                             discriminatory effects theory of liability               has been in place for almost four                          impact or a segregative effect. If the
                                             under the Act. For instance, HUD’s                       decades and that has consistently been                     discriminatory effect is shown, the
                                             Assistant Secretary for Fair Housing and                 applied, with minor variations, by HUD,                    burden of proof shifts to the defendant
                                             Equal Opportunity (FHEO) issued a                        the Justice Department and nine other                      (or respondent) to justify its actions. If
                                             memorandum in 1993 instructing HUD                       federal agencies, and federal courts. In                   the defendant (or respondent) satisfies
                                             investigators to be sure to analyze                      this regard, HUD emphasizes that the                       its burden, the third step comes into
                                             complaints under the disparate impact                    title of this rulemaking,                                  play. There has been a difference of
                                             theory of liability.23 HUD’s 1995 Title                  ‘‘Implementation of the Fair Housing                       approach among the various appellate
                                             VIII Complaint Intake, Investigation and                 Act’s Discriminatory Effects Standard,’’                   courts and HUD adjudicators as to
                                             Conciliation Handbook (Enforcement                       indicates that HUD is not proposing                        which party bears the burden of proof
                                             Handbook), which set forth guidelines                    new law in this area.                                      at this third step, which requires proof
                                             for investigating and resolving Fair                        As discussed in the preamble to the                     as to whether or not a less
                                             Housing Act complaints, emphasized to                    proposed rule (76 FR 70921, 70923), all                    discriminatory alternative to the
                                             HUD’s enforcement staff that disparate                   federal courts of appeals to have                          challenged practice exists. All but one
                                             impact is one of ‘‘the principal theories                addressed the question agree that                          of the federal courts of appeals that use
                                             of discrimination’’ under the Fair                       liability under the Act may be                             a burden-shifting approach place the
                                             Housing Act and required HUD                             established based on a showing that a                      ultimate burden of proving that a less
                                             investigators to apply it when                           neutral policy or practice has a                           discriminatory alternative exists on the
                                             appropriate.24 HUD’s 1998 version of                     discriminatory effect even if such a                       plaintiff,34 with some courts analogizing
                                             the Enforcement Handbook, which is                       policy or practice was not adopted for                     to the burden-shifting framework
                                             currently in effect, also recognizes the                 a discriminatory purpose.28 There is                       established for Title VII of the Civil
                                             discriminatory effects theory of liability               minor variation, however, in how                           Rights Act of 1964 (Title VII), which
                                             and requires HUD investigators to apply                  evidence has been analyzed pursuant to                     addresses employment
                                             it in appropriate cases nationwide.25                    this theory. For example, in                               discrimination.35 The remaining court
                                                In 1998, at Congress’s direction, HUD                 adjudications, HUD has always used a                       of appeals places the burden on the
                                             published in the Federal Register                        three-step burden-shifting approach,29
                                             previously-internal guidance from 1991                                                                              Mountain Side Mobile Estates P’ship, 1993 WL
                                             explaining when occupancy limits may                       27 Memorandum from HUD Office of Fair Housing            367102, at *6 (HUD ALJ Sept. 20, 1993); HUD v.
                                                                                                      & Equal Opportunity, Assessing Claims of Housing           Carter, 1992 WL 406520, at *6 (HUD ALJ May 1,
                                             violate the Act’s prohibition of                                                                                    1992); see also Joint Policy Statement, 59 FR 18269.
                                                                                                      Discrimination Under the Fair Housing Act & the
                                             discrimination because of familial                       Violence Against Women Act 5–6 (Feb. 9, 2011).                30 See, e.g., Charleston, 419 F.3d at 740–42;
                                             status, premised on the application of                   http://www.hud.gov/offices/fheo/library/11-                Langlois, 207 F.3d at 49–50; Huntington Branch,
                                             disparate impact liability.26 More                       domestic-violence-memo-with-attachment.pdf.                844 F.2d at 939.
                                                                                                                                                                    31 See, e.g., Metro. Hous. Dev. Corp., 558 F.2d at
                                             recently, HUD posted on its Web site                        28 See, e.g., Graoch Assocs. #33, L.P. v. Louisville/

                                                                                                      Jefferson Cnty. Metro Human Relations Comm’n,              1290 (applying a four-factor balancing test).
                                             guidance to its staff and others
                                                                                                      508 F.3d 366, 374–78 (6th Cir. 2007); Reinhart v.             32 See, e.g., Graoch, 508 F.3d at 373 (balancing
                                             discussing how facially neutral housing                  Lincoln Cnty., 482 F.3d 1225, 1229 (10th Cir. 2007);       test incorporated as elements of proof after second
                                                                                                      Hallmark Developers, Inc. v. Fulton County, Ga.,           step of burden-shifting framework); Mountain Side
                                               22 Id.                                                 466 F.3d 1276, 1286 (11th Cir. 2006); Charleston           Mobile Estates v. Sec’y HUD, 56 F.3d 1243, 1252,
                                                23 Memorandum from the HUD Assistant                  Hous. Auth. v. U.S. Dep’t of Agric., 419 F.3d 729,         1254 (10th Cir. 1995) (incorporating a three-factor
                                             Secretary for Fair Housing & Equal Opportunity,          740–41 (8th Cir. 2005); Langlois v. Abington Hous.         balancing test into the burden-shifting framework to
                                             The Applicability of Disparate Impact Analysis to        Auth., 207 F.3d 43, 49–50 (1st Cir. 2000); Simms           weigh defendant’s justification);.
                                             Fair Housing Cases (Dec. 17, 1993).                      v. First Gibraltar Bank, 83 F.3d 1546, 1555 (5th Cir.         33 The Fourth Circuit has applied a four-factor
                                                24 HUD, No. 8024.1, Title VIII Complaint Intake,      1996); Jackson v. Okaloosa Cnty., Fla., 21 F.3d            balancing test to public defendants and a burden-
                                             Investigation & Conciliation Handbook at 7–12            1531, 1543 (11th Cir. 1994); Keith v. Volpe, 858           shifting approach to private defendants. See, e.g.,
                                             (1995).                                                  F.2d 467, 484 (9th Cir. 1988); Huntington Branch,          Betsey v. Turtle Creek Assocs., 736 F.2d 983, 989
                                                25 HUD, No. 8024.1, Title VIII Complaint Intake,      NAACP v. Town of Huntington, 844 F.2d 926, 937–            n.5 (4th Cir. 1984).
                                             Investigation & Conciliation Handbook at 2–27            38 (2d Cir. 1988), aff’d, 488 U.S. 15 (1988) (per             34 Compare Mt. Holly Gardens Citizens in Action,

                                             (1998) (‘‘a respondent may be held liable for            curiam); Resident Advisory Bd. v. Rizzo, 564 F.2d          Inc. v. Twp. of Mount Holly, 658 F.3d 375, 382 (3d
                                             violating the Fair Housing Act even if his action        126, 148 (3d Cir. 1977); Betsey v. Turtle Creek            Cir. 2011) (burden of proving less discriminatory
                                             against the complainant was not even partly              Assocs., 736 F.2d 983, 987–89 & n.3 (4th Cir. 1984);       alternative ultimately on plaintiff), and Gallagher v.
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                                             motivated by illegal considerations’’); id. at 2–27 to   Metro. Hous. Dev. Corp. v. Vill. of Arlington              Magner, 619 F.3d 823, 834 (8th Cir. 2010) (same),
                                             2–45 (HUD guidelines for investigating a disparate       Heights, 558 F.2d 1283, 1290–91 (7th Cir. 1977);           and Graoch, 508 F.3d at 373–74 (same), and
                                             impact claim and establishing its elements).             United States. v. City of Black Jack, 508 F.2d 1179,       Mountain Side Mobile Estates, 56 F.3d at 1254
                                                26 See 63 FR 70256 (Dec. 18, 1998) (publishing        1184–86 (8th Cir. 1974).                                   (same), with Huntington Branch, 844 F.2d at 939
                                             ‘‘Keating Memo’’ regarding reasonable occupancy             29 See, e.g., HUD v. Twinbrook Village Apts., No.       (burden of proving no less discriminatory
                                             standards); Quality Housing and Work                     02–00025600–0256–8, 2001 WL 1632533, at *17                alternative exists on defendant).
                                             Responsibility Act of 1998, Public Law 105–276,          (HUD ALJ Nov. 9, 2001); HUD v. Pfaff, 1994 WL                 35 See, e.g., Graoch, 508 F.3d at 373 (‘‘[C]laims

                                             112 Stat. 2461, § 589 (Oct. 21, 1998) (requiring         592199, at *8 (HUD ALJ Oct. 27, 1994) rev’d on             under Title VII and the [Fair Housing Act] generally
                                             publication of Keating Memo).                            other grounds, 88 F.3d 739 (9th Cir. 1996); HUD v.         should receive similar treatment’’).


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                                             defendant to show that no less                          those interests cannot be served by                   the more specific ‘‘discriminatory
                                             discriminatory alternative to the                       another practice that has a less                      intent.’’
                                             challenged practice exists.36 HUD’s                     discriminatory effect.                                   The final rule slightly revises the
                                             administrative law judges have, at                         Consistent with its own past practice              definition of discriminatory effect found
                                             times, placed this burden of proof                      and that of many federal courts, HUD                  in proposed § 100.500(a), without
                                             concerning a less discriminatory                        proposed a burden-shifting framework                  changing its meaning, to condense the
                                             alternative on the respondent and, at                   for determining whether liability exists              definition and make it more consistent
                                             other times, on the charging party.37                   under a discriminatory effects theory.                with terminology used in case law.
                                                Through this rulemaking and                          Under the proposed burden-shifting                    Proposed § 100.500(a) provided that ‘‘[a]
                                             interpretative authority under the Act,                 approach, the charging party or plaintiff             housing practice has a discriminatory
                                             HUD formalizes its longstanding view                    in an adjudication first bears the burden             effect where it actually or predictably:
                                             that discriminatory effects liability is                of proving that a challenged practice                 (1) Results in a disparate impact on a
                                             available under the Act and establishes                 causes a discriminatory effect. If the                group of persons on the basis of race,
                                             uniform standards for determining                       charging party or plaintiff meets this                color, religion, sex, handicap, familial
                                             when a practice with a discriminatory                   burden, the burden of proof shifts to the             status, or national origin; or (2) Has the
                                             effect violates the Fair Housing Act.                   respondent or defendant to prove that                 effect of creating, perpetuating, or
                                                                                                     the challenged practice has a necessary               increasing segregated housing patterns
                                             III. The November 16, 2011, Proposed
                                                                                                     and manifest relationship to one or                   on the basis of race, color, religion, sex,
                                             Rule
                                                                                                     more of its legitimate,                               handicap, familial status, or national
                                                On November 16, 2011, HUD                            nondiscriminatory interests. If the                   origin.’’ Final § 100.500(a) provides that
                                             published a proposed rule in the                        respondent or defendant satisfies this                ‘‘[a] practice has a discriminatory effect
                                             Federal Register (76 FR 70921)                          burden, the charging party or plaintiff               where it actually or predictably results
                                             addressing the discriminatory effects                   may still establish liability by                      in a disparate impact on a group of
                                             theory of liability under the Act.                      demonstrating that the legitimate,                    persons or creates, increases, reinforces,
                                             Specifically, HUD proposed adding a                     nondiscriminatory interest can be                     or perpetuates segregated housing
                                             new subpart G to 24 CFR part 100,                       served by another practice that has a                 patterns because of race, color, religion,
                                             which would formalize the longstanding                  less discriminatory effect.                           sex, handicap, familial status, or
                                             position held by HUD and the federal                       In the proposed rule, HUD explained                national origin.’’
                                             courts that the Fair Housing Act may be                 that violations of various provisions of                 To clarify ‘‘legally sufficient
                                             violated by a housing practice that has                 the Act may be established by proof of                justification’’ and in particular, what
                                             a discriminatory effect, regardless of                  discriminatory effects, including 42                  HUD meant in the proposed rule by ‘‘a
                                             whether the practice was adopted for a                  U.S.C. 3604(a), 3604(b), 3604(f)(1),                  necessary and manifest relationship to
                                             discriminatory purpose, and would                       3604(f)(2), 3605, and 3606 (see 76 FR                 one or more legitimate,
                                             establish uniform standards for                         70923 n.20), and that discriminatory                  nondiscriminatory interests,’’ HUD is
                                             determining when such a practice                        effects liability applies to both public              revising the definition found in
                                             violates the Act.                                       and private entities (see 76 FR 70924                 proposed § 100.500(b) to read as
                                                In the proposed rule, HUD defined a                  n.40).                                                follows: ‘‘(1) A legally sufficient
                                             housing practice with a ‘‘discriminatory                   HUD also proposed to revise 24 CFR                 justification exists where the challenged
                                             effect’’ as one that ‘‘actually or                      part 100 to add examples of practices                 practice:
                                             predictably: (1) Results in a disparate                 that may violate the Act under the                       (i) Is necessary to achieve one or more
                                             impact on a group of persons on the                     discriminatory effects theory.                        substantial, legitimate,
                                             basis of race, color, religion, sex,                                                                          nondiscriminatory interests of the
                                             handicap, familial status, or national                  IV. Changes Made at the Final Rule                    respondent, with respect to claims
                                             origin; or (2) Has the effect of creating,              Stage                                                 brought under 42 U.S.C. 3612, or
                                             perpetuating, or increasing segregated                    In response to public comment, a                    defendant, with respect to claims
                                             housing patterns on the basis of race,                  discussion of which is presented in the               brought under 42 U.S.C. 3613 or 3614;
                                             color, religion, sex, handicap, familial                following section, and in further                     and (ii) Those interests could not be
                                             status, or national origin.’’                           consideration of issues addressed at the              served by another practice that has a
                                                A housing practice with a                            proposed rule stage, HUD is making the                less discriminatory effect. (2) A legally
                                             discriminatory effect would still be                    following changes at this final rule                  sufficient justification must be
                                             lawful if supported by a ‘‘legally                      stage:                                                supported by evidence and may not be
                                             sufficient justification.’’ HUD proposed                                                                      hypothetical or speculative * * *.’’
                                                                                                     A. Changes to Subpart G
                                             that a ‘‘legally sufficient justification’’                                                                   This revision to the definition of
                                             exists where the challenged housing                        The final rule makes several minor                 ‘‘legally sufficient justification’’
                                             practice: (1) Has a necessary and                       revisions to subpart G in the proposed                includes changing ‘‘cannot be served,’’
                                             manifest relationship to one or more                    rule for clarity. The final rule changes              the phrasing used in the proposed rule,
                                             legitimate, nondiscriminatory interests                 ‘‘housing practice’’ to ‘‘practice’’                  to ‘‘could not be served.’’
                                             of the respondent or defendant; and (2)                 throughout proposed subpart G to make                    This revised definition of ‘‘legally
                                                                                                     clear that the standards set forth in                 sufficient justification’’ also appears in
                                               36 Huntington Branch, 844 F.2d at 939.                subpart G are not limited to the                      § 100.500(c)(2) and, in essentially the
                                                37 Compare, e.g., HUD v. Carter, 1992 WL 406520,     practices addressed in subpart B, which               same form, in § 100.500(c)(3). The final
                                             at *6 (HUD ALJ May 1, 1992) (respondent bears the       is titled ‘‘Discriminatory Housing                    rule also replaces the word
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                                             burden of showing that no less discriminatory
                                             alternative exists), and HUD v. Twinbrook Village
                                                                                                     Practices.’’ The final rule replaces                  ‘‘demonstrating’’ with ‘‘proving’’ in
                                             Apts., 2001 WL 1632533, at *17 (HUD ALJ Nov. 9,         ‘‘under this subpart’’ with ‘‘under the               § 100.500(c)(3) in order to make clear
                                             2001) (same), with HUD v. Mountain Side Mobile          Fair Housing Act’’ because subpart G                  that the burden found in that section is
                                             Estates P’ship, 1993 WL 367102, at *6 (charging         outlines evidentiary standards for                    one of proof, not production.
                                             party bears the burden of showing that a less
                                             discriminatory alternative exists), and HUD v. Pfaff,
                                                                                                     proving liability under the Fair Housing                 In addition to these changes, the final
                                             1994 WL 592199, at *8 (HUD ALJ Oct. 27, 1994)           Act. The final rule also replaces the                 rule makes several minor corrections to
                                             (same).                                                 general phrase ‘‘prohibited intent’’ with             § 100.500. The final rule substitutes ‘‘42


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                                             U.S.C. 3610’’ with ‘‘42 U.S.C. 3612’’ in                established by a practice’s                           discrimination in the making and
                                             § 100.500(c)(1) because the procedures                  discriminatory effect, even if not                    provision of loans and other financial
                                             for a formal adjudication under the Act                 motivated by discriminatory intent,                   assistance, while § 100.130 addresses
                                             are found in 42 U.S.C. 3612. Also in                    consistent with the standards outlined                discriminatory terms or conditions.
                                             § 100.500(c)(1), the final rule changes                 in § 100.500.’’                                       Other minor streamlining changes are
                                             ‘‘proving that a challenged practice                       The final rule revises the illustrations           made to existing § 100.120(b).
                                             causes a discriminatory effect’’ to                     of discriminatory housing practices in                Accordingly, this final rule revises
                                             ‘‘proving that a challenged practice                    the proposed rule, rephrasing them in                 § 100.120(b) to read as set forth in the
                                             caused or predictably will cause a                      more general terms. The language of the               regulatory text of the rule.
                                             discriminatory effect.’’ This edit is                   added illustrations, which in the                        The final rule amends existing
                                             required for consistency with the Fair                  proposed rule included paraphrasing                   § 100.130(b)(2) to add ‘‘or conditions’’
                                             Housing Act and § 100.500(a), which                     the definition of discriminatory effect               and the term ‘‘cost’’ to the list of
                                             prohibit actions that predictably result                from subpart G, is revised to eliminate               potentially discriminatory terms or
                                             in discrimination.                                      the paraphrasing, which is unnecessary                conditions of loans or other financial
                                                The final rule further corrects                      after the addition to paragraph (b) of                assistance. It also adds new
                                             proposed § 100.500(c)(1) and (2) to                     § 100.5. This revision is also intended to            § 100.130(b)(3), which, in response to a
                                             replace ‘‘complainant’’ with ‘‘charging                 eliminate any potential negative                      public comment, illustrates that
                                             party’’ because in cases tried before                   implication from the proposed rule that               servicing is a condition of loans or other
                                             HUD administrative law judges, the                      the existing illustrations in part 100                financial assistance covered by section
                                             charging party—and not the                              could not be proven through an effects                805.41 Because, as noted above, at the
                                             complainant—has the same burden of                      theory. In addition to this general                   final rule stage ‘‘terms and conditions’’
                                             proof as a plaintiff in court. Under the                streamlining of the illustrations in the              is removed from proposed
                                             provisions of the Act governing                         proposed rule, the final rule makes the               § 100.120(b)(2), new § 100.130(b)(3) also
                                             adjudication of administrative                          following specific revisions to the                   addresses the provision of loans or other
                                             complaints, an aggrieved person may                     illustrations.                                        financial assistance with terms or
                                             file a complaint with the Secretary                        In order to avoid redundancy in                    conditions that have a discriminatory
                                             alleging a discriminatory housing                       HUD’s Fair Housing Act regulations,                   intent or effect. As a result of these
                                             practice, or the Secretary may file such                this final rule eliminates proposed                   changes, new § 100.130(b)(3) reads as
                                             a complaint,38 but it is the Secretary                  § 100.65(b)(6). The substance of                      follows: ‘‘Servicing of loans or other
                                             who issues the charge of discrimination                 proposed § 100.65(b)(6), which covers                 financial assistance with respect to
                                             and prosecutes the case before the                      ‘‘Providing different, limited, or no                 dwellings in a manner that
                                             Administrative Law Judge, on behalf of                  governmental services such as water,                  discriminates, or servicing of loans or
                                             the aggrieved person.39 Any aggrieved                   sewer, or garbage collection’’ is already             other financial assistance which are
                                             person may intervene as a party in the                  captured by existing § 100.65(b)(4),                  secured by residential real estate in a
                                             proceeding,40 in which case the                         which prohibits ‘‘Limiting the use of                 manner that discriminates, or providing
                                             intervener would bear the same burden                   privileges, services, or facilities                   such loans or financial assistance with
                                             of proof as the charging party or a                     associated with a dwelling,’’ and                     other terms or conditions that
                                             plaintiff in a judicial action.                         existing § 100.70(d)(4), which prohibits              discriminate, because of race, color,
                                                                                                     ‘‘Refusing to provide municipal services              religion, sex, handicap, familial status,
                                             B. Changes to Illustrations                             * * * for dwellings or providing such                 or national origin.’’
                                                The illustrations added in this rule, as             services differently.’’
                                             well as the existing illustrations in part                 In response to public comment, the                 V. The Public Comments
                                             100, represent HUD’s interpretation of                  final rule adds ‘‘enacting’’ and                         The public comment period for the
                                             conduct that is illegal housing                         ‘‘ordinance’’ to § 100.70(d)(5). These                November 16, 2011, proposed rule
                                             discrimination under the Fair Housing                   changes confirm that an ordinance is                  closed on January 17, 2012. Ninety-six
                                             Act. Liability can be established for the               one type of land-use decision that is                 public comments were received in
                                             conduct illustrated in part 100 through                 covered by the Act, under a theory of                 response to the proposed rule.
                                             evidence of intentional discrimination,                 intentional discrimination or                         Comments were submitted by a wide
                                             or based on discriminatory effects                      discriminatory effect, and that land-use              variety of interested entities, including
                                             pursuant to the standards set forth in                  decisions may discriminate from the                   individuals, fair housing and legal aid
                                             subpart G, depending on the nature of                   moment of enactment. This final rule                  organizations, state and local fair
                                             the potential violation.                                therefore revises proposed § 100.70(d)(5)             housing agencies, Attorneys General
                                                In order to make clear that the Fair                 to give the following as an illustration              from several States, state housing
                                             Housing Act violations illustrated in                   of a prohibited practice: ‘‘Enacting or               finance agencies, public housing
                                             part 100 may be proven through                          implementing land-use rules,                          agencies, public housing trade
                                             evidence of intentional discrimination                  ordinances, policies, or procedures that              associations, insurance companies,
                                             or discriminatory effects, as the                       restrict or deny housing opportunities or             mortgage lenders, credit unions,
                                             evidence permits, and that any potential                otherwise make unavailable or deny                    banking trade associations, real estate
                                             discriminatory effects violation must be                dwellings to persons because of race,                 agents, and law firms.42 This section of
                                             assessed pursuant to the standards set                  color, religion, sex, handicap, familial              the preamble, which addresses
                                             forth in § 100.500, the final rule amends               status, or national origin.’’ The final rule          significant issues raised in the public
                                             paragraph (b) of § 100.5 to add at the                  removes ‘‘cost’’ and ‘‘terms or
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                                             end the following sentence: ‘‘The                       conditions’’ from proposed                               41 42 U.S.C. 3605. Discrimination in residential

                                             illustrations of unlawful housing                       § 100.120(b)(2) and adds them to                      mortgage servicing may also violate section 804 of
                                             discrimination in this part may be                      § 100.130. This revision is not intended              the Act, 42 U.S.C. 3604.
                                                                                                                                                              42 All public comments on this rule can be found
                                                                                                     to make any substantive changes to
                                                                                                                                                           at www.regulations.gov, specifically at http://
                                               38 42 U.S.C. 3610(a)(1)(A).                           HUD’s interpretation of the Act’s                     www.regulations.gov/
                                               39 42 U.S.C. 3610(g)(2)(A), 3612.                     coverage, but rather is for organizational            #!searchResults;rpp=50;po=0;dktid=HUD-2011-
                                               40 42 U.S.C. 3612(c).                                 purposes only: § 100.120 addresses                    0138.


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                                             comments, organizes the comments by                        the protection of persons with                       ‘‘otherwise make unavailable or deny’’
                                             subject category, with a brief description                 disabilities and in familial status cases;           language in the Fair Housing Act
                                             of the issue (or set of related issues)                    municipal land use decisions are more                unpersuasive evidence that Congress
                                             followed by HUD’s response.                                likely to have a discriminatory effect on            intended the Act to include an effects
                                                Many comments were received in                          minorities when they unreasonably                    test because it is a catchall phrase at the
                                             support of the rule generally and in                       attempt to restrict affordable housing;              end of a list of prohibited conduct, and
                                             support of the proposed discriminatory                     the effects analysis is important to                 it must be read as having a similar
                                             effects standard in particular. This                       environmental justice investigations; the            meaning as the specific items on the list.
                                             summary does not provide a response to                     discriminatory effects standard                         Some commenters stated that the
                                             comments that expressed support for                        encourages housing providers to                      Act’s prohibition of certain practices
                                             the proposed rule. Supportive                              develop creative ways to achieve their
                                                                                                                                                             ‘‘because of,’’ ‘‘on account of,’’ or
                                             comments included statements asserting                     economic objectives while promoting
                                                                                                                                                             ‘‘based on’’ a protected classification
                                             that the rule: advances the goals of the                   diversity; the effects standard gives
                                             Fair Housing Act; offers a well-reasoned                                                                        necessitates a showing of discriminatory
                                                                                                        HUD and fair housing advocates the
                                             standard for analyzing discriminatory                                                                           intent. A commenter stated that
                                                                                                        tools to reveal the effects of racism,
                                             effects claims; provides a national                                                                             ‘‘because of’’ and ‘‘on account of,’’ as
                                                                                                        poverty, disability discrimination, and
                                             standard for courts, housing providers,                                                                         used in every provision of the Act,
                                                                                                        adverse environmental conditions on
                                             municipalities and the financial and                                                                            require evidence of intent because the
                                                                                                        the health and well-being of individuals
                                             insurance industries; provides clarity to                                                                       same phrases are used in two provisions
                                                                                                        protected by the law; the rule provides
                                             housing providers, housing seekers, and                                                                         of the Act that cannot plausibly be
                                                                                                        practical administrative guidance for
                                             others; will decrease litigation by                        HUD attorneys and administrative law                 interpreted to employ discriminatory
                                             clarifying the burdens of proof; and will                  judges, as well as for the state and local           effects liability. In this regard, this
                                             help address a lack of adequate housing                    fair housing agencies that share                     commenter pointed to 42 U.S.C. 3631,
                                             for older persons even though age is not                   responsibility with HUD for                          which uses the phrase ‘‘because of’’ to
                                             a protected characteristic under the Act                   adjudicating fair housing complaints;                create criminal liability for specific fair
                                             because older persons may be affected                      and the disparate impact standard is                 housing violations, and 42 U.S.C. 3617,
                                             by practices with a discriminatory effect                  important in addressing discrimination               which uses the phrase ‘‘on account of’’
                                             based on disability. Commenters stated                     in lending and denial of access to credit,           to ban coercion and intimidation of
                                             that the rule is particularly necessary to                 which are often the results of neutral               those exercising fair-housing rights.
                                             maintain protections against                               policies that have a disparate impact on                Other commenters expressed support
                                             discriminatory and abusive practices in                    protected groups.                                    for a rule setting out the discriminatory
                                             the mortgage industry, as the Fair                            Some commenters supported the                     effects theory of liability. Some of these
                                             Housing Act covers activities in                           proposed rule’s allocation of the burden             commenters stated that Congress
                                             residential real estate-related                            of proof, stating that the rule is practical         intended that such liability exist and
                                             transactions that may not be covered by                    and supported by longstanding                        that the text of the Act readily supports
                                             the Equal Credit Opportunity Act                           precedent, and that it provides clear                this position. Commenters stated that
                                             (ECOA).43 A commenter stated that the                      guidance to housing providers and                    discriminatory effects liability best
                                             rule’s flexible standard is appropriate,                   government agencies in adopting rules                effectuates Congress’s broad, remedial
                                             as no rigid formula fits the variety of                    and policies and an objective method                 intent in passing the Fair Housing Act
                                             practices that exist in a rapidly evolving                 for courts to evaluate discriminatory                and the Act’s stated purpose of
                                             housing market.                                            effect claims. A commenter stated that               providing for fair housing, within
                                                Several commenters supported                            the perpetuation of segregation theory of            constitutional limitations, throughout
                                             discriminatory effects liability under the                 effects liability is supported by the                the country. Commenters pointed out,
                                             Act in general, stating that it is widely                  legislative history of Title VIII and the            through examples of neutral practices
                                             agreed that discriminatory effects                         obligation to affirmatively further fair             with discriminatory results that they
                                             analysis is critically important to                        housing found in 42 U.S.C. 3608(d).                  have encountered, that an effects theory
                                             vigorous enforcement of the Fair                              Following are the remaining issues                of liability continues to be vital in
                                             Housing Act, and that the rule is                          raised by the public comments and                    achieving the Act’s broad goal.
                                             consistent with HUD’s longstanding                         HUD’s responses.                                     Commenters stated that, consistent with
                                             interpretation and the interpretation of                                                                        HUD’s interpretation of the Act, federal
                                                                                                        A. Validity of Discriminatory Effects
                                             the federal courts of appeals.                                                                                  courts have unanimously held that
                                                                                                        Liability Under the Act
                                             Commenters in support of the                                                                                    liability may be established by proof of
                                             importance of the effects test proffered                      Issue: Some commenters opposed the
                                                                                                                                                             discriminatory effects.
                                             the following: if the effects approach                     rule because, in their view, the Act’s
                                             were no longer available, ‘‘the                            text cannot be interpreted to include                   HUD Response: As the preamble to
                                             proverbial door to equal housing                           liability under a discriminatory effects             the proposed rule and this final rule
                                             opportunity will be slammed in the face                    theory. Commenters stated that the Fair              make clear, both HUD and the federal
                                             of many victims’’; the effects analysis is                 Housing Act does not include an effects              courts have long interpreted the Fair
                                             particularly important with respect to                     standard because it does not use the                 Housing Act to prohibit actions that
                                                                                                        phrase ‘‘adversely affect,’’ as in Title             have an unjustified discriminatory
                                               43 ECOA prohibits any creditor from                      VII, the Age Discrimination in                       effect, regardless of whether the action
                                             discriminating in credit transactions on the basis of      Employment Act (ADEA), or the                        was motivated by a discriminatory
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                                             race, color, national origin, religion, age, sex,                                                               intent. Section 804(a) of the Act makes
                                             marital status, or public assistance program
                                                                                                        Americans with Disabilities Act. One of
                                             participation. See 15 U.S.C. 1691(a). By                   these commenters stated that the Fair                it unlawful ‘‘[t]o refuse to sell or rent
                                             comparison, Section 805 of the Fair Housing Act            Housing Act does not include any of the              after the making of a bona fide offer, or
                                             prohibits any person whose business includes               words in other statutes that have been               to refuse to negotiate for the sale or
                                             engaging in residential-related transactions from                                                               rental of, or otherwise make unavailable
                                             discriminating in such transactions on the basis of
                                                                                                        interpreted as giving rise to disparate
                                             race, color, religion, sex, disability, familial status,   impact claims, such as ‘‘affect’’ and                or deny, a dwelling to any person
                                             or national origin. See 42 U.S.C. 3605.                    ‘‘tend to.’’ A commenter found the                   because of race, color, religion, sex,


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                                             familial status, or national origin.’’ 44                discussed in this preamble and that of                  preclude finding discriminatory effects
                                             Similarly, section 804(f)(1) makes it                    the proposed rule,50 informs its                        liability under the Act’s other
                                             unlawful ‘‘[t]o discriminate in the sale                 conclusion that not only can the term                   substantive provisions using the same
                                             or rental, or to otherwise make                          ‘‘discriminate’’ be interpreted to                      language because, as discussed above,
                                             unavailable or deny, a dwelling to any                   encompass discriminatory effects                        HUD bases its interpretation of those
                                             buyer or renter because of a                             liability, but it must be so interpreted in             other provisions on other language not
                                             handicap.’’ 45 This ‘‘otherwise make                     order to achieve the Act’s stated                       found in sections 817 and 831, such as
                                             unavailable or deny’’ formulation in the                 purpose to provide for fair housing to                  the phrase ‘‘otherwise make unavailable
                                             text of the Act focuses on the effects of                the extent the Constitution allows.51                   or deny a dwelling’’ and the term
                                             a challenged action rather than the                      Indeed, as far back as 1980, the HUD                    ‘‘discriminate.’’
                                             motivation of the actor. In this way, the                Secretary explained to Congress why                        HUD’s interpretation is confirmed by
                                             provisions are similar to the ‘‘otherwise                discriminatory effects liability under the              the fact that the Act’s text contains three
                                             adversely affect’’ formulation that the                  Fair Housing Act is ‘‘imperative to the                 exemptions that presuppose that the Act
                                             Supreme Court found to support                           success of civil rights enforcement.’’ 52               encompasses an effects theory of
                                             disparate impact liability under Title VII               Only by eliminating practices with an                   liability. For one, section 805(c) of the
                                             and the ADEA.46 And, indeed, the                         unnecessary disparate impact or that                    Act allows ‘‘a person engaged in the
                                             federal courts have drawn the analogy                    unnecessarily create, perpetuate,                       business of furnishing appraisals of real
                                             between Title VII and the Fair Housing                   increase, or reinforce segregated housing               property to take into consideration
                                             Act in interpreting the Act to prohibit                  patterns, can the Act’s intended goal to                factors other than race, color, religion,
                                             actions that have an unjustified                         advance equal housing opportunity and                   national origin, sex, handicap, or
                                             discriminatory effect, regardless of                     achieve integration be realized.53 In                   familial status.’’ 60 If the Act prohibited
                                             intent.47                                                keeping with the broad remedial goals                   only intentional discrimination, it
                                                In addition, many of the Fair Housing                 of the Fair Housing Act,54 HUD                          would not be unlawful to ‘‘take into
                                             Act’s provisions make it unlawful ‘‘to                   interprets the term ‘‘discriminate,’’ as                consideration factors other than’’
                                             discriminate’’ in certain housing-related                well as the language in sections 804(a)                 protected characteristics in the first
                                             transactions based on a protected                        and 804(f)(1) of the Act, to encompass                  instance, and this exemption would be
                                             characteristic.48 ‘‘Discriminate’’ is a                  liability based on the results of a                     superfluous. Second, section 807(b)(1)
                                             term that may encompass actions that                     practice, as well as any intended effect.               of the Act states that ‘‘[n]othing in this
                                             have a discriminatory effect but not a                      The ‘‘because of’’ phrase found in                   title limits the applicability of any
                                             discriminatory intent.49 HUD’s                           sections 804 and 805 of the Act 55 and                  reasonable local, State, or Federal
                                             extensive experience in administering                    similar language such as ‘‘on account                   restrictions regarding the maximum
                                             the Fair Housing Act and in                              of’’ or ‘‘based on’’ does not signal that               number of occupants permitted to
                                             investigating and adjudicating claims                    Congress intended to limit the Act’s                    occupy a dwelling.’’ 61 Since ‘‘the
                                             arising under the Act, which is                          coverage to intentional discrimination.                 number of occupants permitted to
                                                                                                      Both section 703(a)(2) of Title VII 56 and              occupy a dwelling’’ is not a protected
                                               44 42 U.S.C. 3604(a).                                  section 4(a)(2) of the ADEA 57 prohibit                 classification under the Act, this
                                               45 42 U.S.C. 3604(f)(1).                               certain actions ‘‘because of’’ a protected              provision makes sense only as
                                                46 See Griggs v. Duke Power Co., 401 U.S. 424,
                                                                                                      characteristic, yet neither provision                   authorizing occupancy limits that
                                             431 (1971) (holding that Title VII includes a            requires a finding of discriminatory
                                             disparate impact standard); Smith v. City of                                                                     would otherwise violate the Act based
                                                                                                      intent.58 Moreover, the fact that the
                                             Jackson, Miss., 544 U.S. 228, 235 (2005) (affirming                                                              on an effects theory.62 Indeed, in 1991,
                                             that the holding in Griggs represented the best          phrases ‘‘on account of’’ and ‘‘because
                                                                                                                                                              HUD issued a memorandum to its staff
                                             reading of Title VII’s text); id. at 240 (holding that   of’’ appear in sections 817 and 831 of
                                             section 4(a)(2) of the ADEA includes a disparate                                                                 explaining when occupancy limits
                                                                                                      the Fair Housing Act 59 does not
                                             impact standard); see also Nat’l Cmty. Reinvestment                                                              would violate the Act based on
                                             Coalition v. Accredited Home Lenders Holding Co.,
                                                                                                         50 See supra nn. 12–27; preamble to the
                                                                                                                                                              disparate impact liability, and Congress
                                             573 F. Supp. 2d 70, 78 (D.DC 2008) (holding that                                                                 later directed HUD to publish these
                                             the Fair Housing Act encompasses disparate impact        November 16, 2011, proposed rule at 76 FR 70922–
                                             liability because, among other reasons, language in      23.                                                     guidelines in the Federal Register. 63
                                             the Act is analogous to language in the ADEA found
                                                                                                         51 In enacting the Fair Housing Act, Congress
                                                                                                                                                              Third, section 807(b)(4) of the Act states
                                             by the Supreme Court to include disparate impact).       expressed its desire to provide, within                 that ‘‘[n]othing in this title prohibits
                                                47 See Resident Advisory Bd. v. Rizzo, 564 F.2d       constitutional limitations, for fair housing
                                                                                                      throughout the United States. See 42 U.S.C. 3601.       conduct against a person because such
                                             126, 146 (3d Cir. 1977) (‘‘[I]n Title VIII cases, by
                                             analogy to Title VII cases, unrebutted proof of
                                                                                                         52 See 126 Cong. Rec. 31,166–31,167 (1980)           person has been convicted by any court
                                             discriminatory effect alone may justify a federal        (statement of Sen. Mathias) (reading into the record    of competent jurisdiction of the illegal
                                             equitable response.’’); Graoch, 508 F.3d at 374          letter of HUD Secretary).                               manufacture or distribution of a
                                                                                                         53 See supra nn. 3–7; infra nn. 65–69.
                                             (quoting Griggs, 401 U.S. at 431) (‘‘The Supreme                                                                 controlled substance.’’ 64 As with the
                                                                                                         54 See supra note 11.
                                             Court held that Title VII, which uses similar
                                             language [to Title VIII], ‘proscribes not only overt        55 42 U.S.C. 3604 and 3605.                          two exemptions discussed above, this
                                             discrimination but also practices that are fair in          56 42 U.S.C. 2000e–2(a)(2).                          provision would be wholly unnecessary
                                             form, but discriminatory in operation.’ The same            57 29 U.S.C. 623(a)(2).                              if the Act prohibited only intentional
                                             analysis justifies the existence of disparate-impact        58 See Meacham v. Knolls Atomic Power Lab., 554      discrimination.
                                             liability under the FHA.’’).                             U.S. 84, 96 (2008) (explaining that, ‘‘in the typical
                                                48 See 42 U.S.C. 3604(b), 3604(f)(1), 3604(f)(2),
                                                                                                      disparate-impact case’’ under the ADEA, ‘‘the             60 42 U.S.C. 3605(c).
                                             3605, and 3606.                                          employer’s practice is ‘without respect to age’ and       61 42 U.S.C. 3607(b)(1).
                                                49 See, e.g., Alexander v. Choate, 469 U.S. 287,      its adverse impact (though ‘because of age’) is
                                                                                                                                                                62 See City of Jackson, 544 U.S. at 238–39
                                             299 (1985) (assuming without deciding that section       ‘attributable to a nonage factor’ ’’); Resident
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                                             504 of the Rehabilitation Act of 1973, which             Advisory Bd. v. Rizzo, 564 F.2d 126, 147 (3d Cir.       (explaining that the ADEA’s provision that allows
                                             prohibits ‘‘subject[ing] to discrimination’’ otherwise   1977) (‘‘[T]he ‘because of race’ language is not        an employer ‘‘to take any action otherwise
                                             qualified handicapped individuals, ‘‘reaches at least    unique to § 3604(a): that same language appears in      prohibited * * * where the differentiation is based
                                             some conduct that has an unjustifiable disparate         Title VII of the Civil Rights Act of 1964, 42 U.S.C.    on reasonable factors other than age
                                             impact upon the handicapped’’); Board. of Ed. v.         § 2000e–2(h), yet a prima facie case of Title VII       discrimination’’ would be ‘‘simply unnecessary’’ if
                                             Harris, 444 U.S. 130, 140–41 (1979) (concluding          liability is made out when a showing of                 the ADEA prohibited only intentional
                                             that the term ‘‘discrimination,’’ as used in the 1972    discriminatory effect (as distinct from intent) is      discrimination).
                                                                                                      established.’’).                                          63 See supra note 26.
                                             Emergency School Aid Act, was ambiguous and
                                             proscribed actions that had a disparate impact).            59 42 U.S.C. 3617 and 3631.                            64 42 U.S.C. 3607(b)(4).




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                                                The legislative history of the Act                    time, the House Committee on the                          Supreme Court in Huntington Branch,
                                             informs HUD’s interpretation. The Fair                   Judiciary specifically rejected an                        NAACP v. Town of Huntington asserting
                                             Housing Act was enacted after a report                   amendment that would have provided                        that a violation of the Fair Housing Act
                                             by the National Advisory Commission                      that ‘‘a zoning decision is not a violation               requires a finding of intentional
                                             on Civil Disorders, which President                      of the Fair Housing Act unless the                        discrimination.81
                                             Johnson had convened in response to                      decision was made with the intent to                         HUD Response: While HUD chose not
                                             major riots taking place throughout the                  discriminate.’’ 72 Instead of adding this                 to use the regulations implementing the
                                             country, warned that ‘‘[o]ur Nation is                   intent requirement to the Act, Congress                   Fair Housing Amendments Act of 1988
                                             moving toward two societies, one black,                  chose to maintain the Act’s operative                     to opine formally on whether a violation
                                             one white—separate and unequal.’’ 65                     text barring discrimination and making                    under the Act may be established absent
                                             The Act’s lead sponsor, Senator Walter                   unavailable or denying housing, to                        discriminatory intent, it has never taken
                                             Mondale, explained in the Senate                         extend those prohibitions to disability                   the position that the Act requires a
                                             debates that the broad purpose of the                    and familial status, and to establish the                 finding of intentional discrimination.
                                             Act was to replace segregated                            exemptions discussed above that                           On the contrary, through formal
                                             neighborhoods with ‘‘truly integrated                    presuppose the availability of a                          adjudications and various other means,
                                             and balanced living patterns.’’ 66                       discriminatory effects theory of                          including other regulations, interpretive
                                             Senator Mondale recognized that                          liability.73 The failed attempt in 1988 to                guidance, and statements to Congress,
                                             segregation was caused not only by                       impose an intent requirement on the Act                   HUD has consistently construed the Act
                                             ‘‘overt racial discrimination’’ but also by              followed five other failed attempts, in                   as encompassing discriminatory effects
                                             ‘‘[o]ld habits’’ which became ‘‘frozen                   1980,74 1981,75 1983,76 1985,77 and                       liability.82 HUD’s prior interpretations
                                             rules,’’ 67 and he pointed to one such                   1987.78                                                   of the Act regarding the discriminatory
                                             facially neutral practice—the ‘‘refusal by                  Issue: Two commenters stated that,                     effects standard are entitled to judicial
                                             suburbs and other communities to                         when promulgating regulations                             deference.83 Neither President Reagan’s
                                             accept low-income housing.’’ 68 He                       implementing the Fair Housing                             signing statement nor the Solicitor
                                             further explained some of the ways in                    Amendments Act of 1988, HUD stated                        General’s amicus brief in Huntington
                                             which federal, state, and local policies                 in the preamble that the ‘‘regulations are                Branch affects or overrides the
                                             had formerly operated to require                         not designed to resolve the question of                   longstanding, consistent construction of
                                             segregation and argued that ‘‘Congress                   whether intent is or is not required to                   the Act by HUD, the agency with
                                             should now pass a fair housing act to                    show a violation’’ of the Act.79 A                        delegated authority to administer the
                                             undo the effects of these past’’                         commenter faulted HUD for failing to                      Act and to promulgate rules interpreting
                                             discriminatory actions.69                                explain what the commenter perceived                      it. Moreover, the Department of Justice
                                                Moreover, in the approximately 20                     as a change in its official interpretation                both before and after Huntington Branch
                                             years between the Act’s enactment in                     of the Act, and urged HUD to eliminate                    has taken the position that the Fair
                                             1968 and its amendment in 1988, the                      disparate impact liability from the rule.                 Housing Act includes discriminatory
                                             nine federal courts of appeals to address                Some commenters stated that President                     effects liability.84
                                             the issue held that the Act prohibited                   Reagan, when signing the Fair Housing
                                                                                                                                                                B. Definition of Discriminatory Effect,
                                             actions with a discriminatory effect.70                  Amendments Act of 1988, expressed his
                                                                                                                                                                § 100.500(a)
                                             Congress was aware of this widespread                    opinion that the amendment ‘‘does not
                                             judicial agreement when it significantly                 represent any congressional or executive                     In order to make it more concise and
                                             amended the Act in 1988.71 At that                       branch endorsement of the notion,                         more consistent with terminology used
                                                                                                      expressed in some judicial opinions,                      in case law without changing its
                                                65 Report of the National Advisory Commission
                                                                                                      that [Fair Housing Act] violations may                    substance, this final rule slightly revises
                                             on Civil Disorders 1 (1968).                             be established by a showing of disparate                  the definition of ‘‘discriminatory effect.’’
                                                66 90 Cong. Rec. 3422 (1968).
                                                                                                      impact or discriminatory effects of a                        Proposed § 100.500(a) provided that
                                                67 114 Cong. Rec. 3421 (1968).
                                                                                                      practice that is taken without                            ‘‘A housing practice has a
                                                68 Id. at 2277.
                                                69 Id. at 2669.                                       discriminatory intent.’’ 80 Some                          discriminatory effect where it actually
                                                70 See, e.g., Huntington Branch, NAACP v. Town        commenters also stated that, in 1988,                     or predictably: (1) Results in a disparate
                                             of Huntington, 844 F.2d 926, 935–36 (2d Cir.), aff’d,    the United States Solicitor General                       impact on a group of persons on the
                                             488 U.S. 15 (1988); Hanson v. Veterans Admin., 800       submitted an amicus brief to the U.S.                     basis of race, color, religion, sex,
                                             F.2d 1381, 1386 (5th Cir. 1986); Arthur v. City of                                                                 handicap, familial status, or national
                                             Toledo, 782 F.2d 565, 574–75 (6th Cir. 1986);                                                                      origin; or (2) Has the effect of creating,
                                             United States v. Marengo Cnty. Comm’n, 731 F.2d          appeals that the Fair Housing Act prohibited
                                             1546, 1559 n.20 (11th Cir. 1984); Smith v. Clarkton,     disparate impact discrimination).                         perpetuating, or increasing segregated
                                             682 F.2d 1055, 1065 (4th Cir. 1982); Halet v. Wend          72 See H.R. Rep. No. 100–711, at 89–91 (1988)          housing patterns on the basis of race,
                                             Inv. Co., 672 F.2d 1305, 1311 (9th Cir. 1982);           (dissenting views of Rep. Swindall).                      color, religion, sex, handicap, familial
                                             Resident Advisory Bd. v. Rizzo, 564 F.2d 126, 146           73 See Fair Housing Amendments Act of 1988,
                                                                                                                                                                status, or national origin.’’
                                             (3d Cir. 1977); Metro. Hous. Dev. Corp. v. Vill. of      Pub. L. 100–430, 102 Stat. 1619 (1988).
                                             Arlington Heights, 558 F.2d 1283, 1290 (7th Cir.            74 H.R. Rep. No. 96–865, at 2 (1980) (The Act
                                                                                                                                                                   Final § 100.500(a) provides that ‘‘[a]
                                             1977), cert. denied, 434 U.S. 1025 (1978); United        ‘‘effectively proscribed housing practices with the       practice has a discriminatory effect
                                             States v. City of Black Jack, 508 F.2d 1179, 1184–       intent or effect of discriminating on account of race,    where it actually or predictably results
                                             85 (8th Cir. 1974).                                      color, national origin, or religion.’’); 126 Cong. Rec.   in a disparate impact on a group of
                                                71 See, e.g., H.R. Rep. No. 100–711, at 2182 (1988)
                                                                                                      31,164 (1980) (explaining that the addition of an
                                             (citing courts of appeals decisions in discussing a      intent requirement ‘‘would make a radical change            81 See Brief for United States as Amicus Curiae,
                                             policy that could have a ‘‘discriminatory effect’’ on    in the standard of proof in title VIII cases’’)
                                             minority households ‘‘[b]ecause minority                                                                           Town of Huntington v. Huntington Branch, NAACP,
                                                                                                      (statement of Sen. Bayh).
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                                             households tend to be larger’’); 134 Cong. Rec.             75 127 Cong. Rec. 22,156 (1981).
                                                                                                                                                                488 U.S. 15 (1988) (No. 97–1961).
                                                                                                                                                                  82 See, e.g., nn. 12–27, supra.
                                             23711–12 (1988) (Statement of Sen. Kennedy)                 76 129 Cong. Rec. 808 (1983).
                                                                                                                                                                  83 See, e.g., United States v. Mead Corp., 533 U.S.
                                             (noting unanimity of courts of appeals as to the            77 S. 139, 99th Cong. § 6(e) (1985).
                                             disparate impact test); Fair Housing Amendments                                                                    218, 230 & n.12 (2001) (Chevron deference is
                                                                                                         78 133 Cong. Rec. 7180 (1987).
                                             Act of 1987: Hearings Before the Subcomm. on the                                                                   warranted for formal adjudications).
                                                                                                         79 54 FR 3232, 3235 (Jan. 23, 1989).
                                             Constitution of the S. Comm. on the Judiciary,                                                                       84 See United States. v. City of Black Jack, 508

                                             100th Cong., 1st Sess. 529–557 (1987) (testimony of         80 Remarks on Signing the Fair Housing                 F.2d 1179, 1184–86 (8th Cir. 1974); see also Brief
                                             Prof. Robert Schwemm, Univ. of Ky. Law Sch.)             Amendments Act of 1988, 24 Weekly Comp. Pres.             for the United States as Amicus Curiae, Magner v.
                                             (discussing ‘‘strong consensus’’ in federal courts of    Doc. 1140, 1141 (Sept. 13, 1988).                         Gallagher, 132 S. Ct. 1306 (2012) (No. 10–1032).


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                                             persons or creates, increases, reinforces,              VII. On the contrary, the Supreme Court                on the occupancy of subsidized housing
                                             or perpetuates segregated housing                       confirmed that an employer who                         units, can be used to demonstrate that
                                             patterns because of race, color, religion,              permits his managers to exercise                       a practice predictably results in a
                                             sex, handicap, familial status, or                      discretion may be liable under Title VII               discriminatory effect.
                                             national origin.’’                                      pursuant to a disparate impact theory,                    HUD Response: The purpose of the
                                                Commenters raised a number of issues                 ‘‘since an employer’s undisciplined                    rule, as identified in the November 16,
                                             with respect to the definition of                       system of subjective decision-making                   2011, proposed rule, is to formalize a
                                             ‘‘discriminatory effect.’’                              can have precisely the same effects as a               long-recognized legal interpretation and
                                                Issue: Two commenters requested that                 system pervaded by impermissible                       establish a uniform legal standard,
                                             HUD expand the definition of ‘‘housing                  intentional discrimination.’’ 87                       rather than to describe how data and
                                             practice’’ to include the language from                    Issue: Some commenters asked HUD                    statistics may be used in the application
                                             the preamble to the proposed rule that                  to remove the word ‘‘predictably’’ from                of the standard. The appropriate use of
                                             provided examples of facially neutral                   the proposed definition. One                           such data is discussed in other federal
                                             actions that may result in a                            commenter made this request out of                     sources, including the Joint Policy
                                             discriminatory effect, ‘‘e.g. laws, rules,              concern that such a definition would                   Statement.
                                             decisions, standards, policies, practices,              make good faith compliance with the                       Issue: Several commenters expressed
                                             or procedures, including those that                     Act difficult, and another because                     concern that the proposed rule did not
                                             allow for discretion or the use of                      claims based on a predictable impact are               explain the degree to which a practice
                                             subjective criteria,’’ to make clear that               too speculative. Another commenter                     must disproportionately impact one
                                             the Act does not apply only to housing                  expressed support for the inclusion of                 group over another. A few commenters
                                             ‘‘practices.’’                                          ‘‘predictably’’ in the definition because              expressed the opinion that, in order for
                                                HUD Response: The Act and HUD                        discrimination cases often involve                     a practice to violate the Act, the practice
                                             regulations define ‘‘discriminatory                     members of a protected class who                       must result in a significant or non-trivial
                                             housing practice’’ broadly as ‘‘an act                  predictably would be impacted by the                   discriminatory effect. A commenter
                                             that is unlawful under section 804, 805,                challenged practice. As an example, the                wrote that members of a protected class
                                             806, or 818.’’ 85 As HUD explained in                   commenter stated that a challenge to a                 must be impacted in a manner that is
                                             the preamble to the proposed rule, any                  zoning or land use ordinance might                     ‘‘meaningfully different’’ from any
                                             facially neutral actions, e.g., laws, rules,            focus on persons who would be                          impact on other individuals. Another
                                             decisions, standards, policies, practices,              excluded from residency by application                 commenter suggested defining a
                                             or procedures, including those that                     of the ordinance.                                      disparate impact as a 20 percent
                                             allow for discretion or the use of                         HUD Response: HUD agrees with the                   difference between the relevant groups.
                                             subjective criteria, may result in a                    latter commenter that the Act is best                  Another stated that the impact should
                                             discriminatory effect actionable under                  interpreted as prohibiting actions that                be ‘‘qualitatively different.’’ A
                                             the Fair Housing Act. Given the breadth                 predictably result in an unjustified                   commenter wrote that, in the lending
                                             of the definition of ‘‘discriminatory                   discriminatory effect. HUD’s                           context, a disparate impact should not
                                             housing practice,’’ and the examples                    interpretation is supported by the plain               exist where statistics only show that a
                                             provided in the preamble to the                         language of the Fair Housing Act, which                protected class, on an aggregate basis,
                                             proposed rule, HUD does not agree that                  defines ‘‘aggrieved person’’ as any                    has not received as many loans as the
                                             it is necessary to provide those                        person who ‘‘believes that such person                 general population. Another commenter
                                             examples in the text of the regulation.                 will be injured by a discriminatory                    stated concern that the rule would allow
                                             The final rule does, however, replace                   housing practice that is about to                      small statistical differences in the
                                             ‘‘housing practice’’ with ‘‘practice’’ in               occur,’’ 88 and which specifically                     pricing of loans to be actionable.
                                             order to make clear it applies to the full              authorizes HUD to take enforcement                        HUD Response: As stated in the
                                             range of actions that may violate the                   action and ALJs and courts to order                    response to the preceding issue, this
                                             Fair Housing Act under an effects                       relief with respect to discrimination that             rule concerns the formalization of a
                                             theory.                                                 ‘‘is about to occur.’’ 89 Moreover, courts
                                                Issue: A commenter stated that, in                                                                          long-recognized legal interpretation and
                                                                                                     interpreting the Fair Housing Act have                 burden-shifting framework, rather than
                                             light of the Supreme Court’s decision in                agreed that predictable discriminatory
                                             Wal-Mart Stores, Inc. v. Dukes,86 HUD                                                                          a codification of how data and statistics
                                                                                                     effects may violate the Act.90                         may be used in the application of the
                                             should ‘‘remove those aspects of the                       Issue: A commenter requested that the
                                             proposed rule that would give rise to                                                                          standard. To establish a prima facie case
                                                                                                     preamble or the text of the final rule                 of discriminatory effects liability under
                                             disparate impact liability based on the                 make clear that reasonable data, such as
                                             exercise of discretion.’’                                                                                      the rule, the charging party or plaintiff
                                                                                                     data from the U.S. Census Bureau, data                 must show that members of a protected
                                                HUD Response: HUD does not agree                     required by the Home Mortgage
                                             that the Supreme Court’s decision in                                                                           class are disproportionately burdened
                                                                                                     Disclosure Act (HMDA), and HUD data                    by the challenged action, or that the
                                             Wal-Mart means that policies permitting
                                             discretion may not give rise to                                                                                practice has a segregative effect.
                                                                                                         87 Id. at 2554 (internal brackets and quotation
                                             discriminatory effects liability under the                                                                     Whether a particular practice results in
                                                                                                     omitted).
                                             Fair Housing Act. The opinion in Wal-                       88 42 U.S.C. 3602(i).                              a discriminatory effect is a fact-specific
                                             Mart did not address the substantive                        89 See 42 U.S.C. 3610(g)(2)(A); 3612(g)(3);        inquiry. Given the numerous and varied
                                             standards under the Fair Housing Act                    3613(c)(1); 3614(d)(1)(A).                             practices and wide variety of private
                                             but instead addressed the issue of class
                                                                                                         90 See, e.g., Pfaff v. HUD, 88 F.3d at 745         and governmental entities covered by
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                                                                                                     (‘‘ ‘Discriminatory effect’ describes conduct that     the Act, it would be impossible to
                                             certification under Title VII. Moreover,                actually or predictably resulted in
                                             even in that context, the opinion in Wal-               discrimination.’’); United States. v. City of Black
                                                                                                                                                            specify in the rule the showing that
                                             Mart does not shield policies that allow                Jack, 508 F.2d at 1184 (‘‘To establish a prima facie   would be required to demonstrate a
                                             for discretion from liability under Title               case of racial discrimination, the plaintiff need      discriminatory effect in each of these
                                                                                                     prove no more than that the conduct of the             contexts. HUD’s decision not to codify
                                                                                                     defendant actually or predictably results in racial
                                               85 42 U.S.C. 3602(f); 24 CFR 100.20.
                                                                                                     discrimination; in other words, that it has a
                                                                                                                                                            a significance requirement for pleading
                                               86 131 S. Ct. 2541 (2011).                            discriminatory effect.’’).                             purposes is consistent with the Joint


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                                             Policy Statement,91 the statutory                         effect’’ because it included a practice                 segregated housing patterns.102
                                             codification of the disparate impact                      that has ‘‘the effect of creating,                      Recognizing liability for actions that
                                             standard under Title VII,92 and the                       perpetuating, or increasing segregated                  impermissibly create, increase,
                                             Consumer Financial Protection Bureau’s                    housing patterns’’ based on protected                   reinforce, or perpetuate segregated
                                             interpretation of the disparate impact                    class. A commenter asked that                           housing patterns directly addresses the
                                             standard under ECOA.93                                    ‘‘segregation’’ be removed from the                     purpose of the Act to replace segregated
                                                Issue: Two commenters stated that, in                  proposed definition. Another                            neighborhoods with ‘‘truly integrated
                                             order to establish a prima facie case of                  commenter expressed concern that this                   and balanced living patterns.’’ For
                                             discriminatory effect liability, a                        portion of the definition would extend                  example, the perpetuation of segregation
                                             charging party or plaintiff should have                   liability beyond the factual                            theory of liability has been utilized by
                                             to identify a specific practice and show                                                                          private developers and others to
                                                                                                       circumstances of the cases HUD cited as
                                             that the alleged discriminatory effect is                                                                         challenge practices that frustrated
                                                                                                       examples in the proposed rule’s
                                             caused by that specific practice, with a                                                                          affordable housing development in
                                             commenter referring to Wards Cove                         preamble because, according to the
                                                                                                                                                               nearly all-white communities and thus
                                             Packing Co. v. Atonio, 490 U.S. 642                       commenter, most of those cases raised at
                                                                                                                                                               has aided attempts to promote
                                             (1989), in support of this position.                      least a suggestion of intentional
                                                                                                                                                               integration.103
                                                HUD Response: HUD addressed this                       discrimination. A commenter stated that                    Moreover, every federal court of
                                             issue at the proposed rule stage, and its                 ‘‘perpetuating’’ should be more clearly                 appeals to have addressed the issue has
                                             analysis is not changed in this final rule.               defined so that the rule states, for                    agreed with HUD’s interpretation that
                                             Under this rule, the charging party or                    example, whether the term requires an                   the Act prohibits practices with the
                                             plaintiff has the burden of proving that                  attempt to segregate further, or merely a               unjustified effect of perpetuating
                                             a challenged practice causes a                            practice that continues existing patterns               segregation.104 In one such case, for
                                             discriminatory effect.94 In HUD’s                         of segregation. Another commenter                       example, the court of appeals held that
                                             experience, identifying the specific                      expressed the related opinion that ‘‘not                a zoning ordinance that prevents the
                                             practice that caused the alleged                          explicitly fostering integration’’ should               construction of multifamily housing in
                                             discriminatory effect will depend on the                  never form the basis for liability under                areas that are primarily white may
                                             facts of a particular situation and                       the Act.                                                violate the Act by ‘‘reinforcing racial
                                             therefore must be determined on a case-                      HUD Response: As discussed in the
                                             by-case basis. Moreover, as recognized                    preambles to both the proposed rule and                    102 See, e.g., Graoch, 508 F.3d at 378 (there are

                                             in the employment context under Title                     this final rule, the elimination of                     ‘‘two types of discriminatory effects which a
                                             VII, the elements of a decision-making                                                                            facially neutral housing decision can have: The first
                                                                                                       segregation is central to why the Fair                  occurs when that decision has a greater adverse
                                             process may not be capable of
                                                                                                       Housing Act was enacted.97 HUD                          impact on one racial group than on another. The
                                             separation for analysis,95 in which case                                                                          second is the effect which the decision has on the
                                                                                                       therefore declines to remove from the
                                             it may be appropriate to challenge the                                                                            community involved; if it perpetuates segregation
                                             decision-making process as a whole. For                   rule’s definition of ‘‘discriminatory                   and thereby prevents interracial association it will
                                             example, in a reverse redlining case,                     effects’’ ‘‘creating, perpetuating, or                  be considered invidious under the Fair Housing Act
                                             there may be multiple acts or policies                    increasing segregated housing                           independently of the extent to which it produces
                                                                                                                                                               a disparate effect on different racial groups.’’);
                                             which together result in a                                patterns.’’ 98 The Fair Housing Act was                 Huntington Branch, 844 F.2d at 937 (‘‘the
                                             discriminatory effect.96                                  enacted to replace segregated                           discriminatory effect of a rule arises in two
                                                Issue: Commenters expressed concern                    neighborhoods with ‘‘truly integrated                   contexts: adverse impact on a particular minority
                                                                                                       and balanced living patterns.’’ 99 It was               group and harm to the community generally by the
                                             with the definition of ‘‘discriminatory                                                                           perpetuation of segregation * * * recognizing this
                                                                                                       structured to address discriminatory                    second form of effect advances the principal
                                                91 See Joint Policy Statement, 59 FR 18,266,           housing practices that affect ‘‘the whole               purpose of Title VIII to promote, open, integrated
                                             18,269 (Apr. 15, 1994) (defining ‘‘disparate impact’’     community’’ as well as particular                       residential housing patterns.’’) (internal citations
                                             as ‘‘a disproportionate adverse impact’’ on                                                                       and quotation marks omitted); Metro. Housing Dev.
                                             applicants from a protected group).
                                                                                                       segments of the community,100 with the
                                                                                                                                                               Corp. v. Village of Arlington Heights, 558 F.2d at
                                                92 See 42 U.S.C. 2000e-2(k)(1)(A)(i) (complaining      goal of advancing equal opportunity in                  1290 (‘‘There are two kinds of racially
                                             party must demonstrate ‘‘that a respondent uses a         housing and also to ‘‘achieve racial                    discriminatory effects which a facially neutral
                                             particular employment practice that causes a              integration for the benefit of all people               decision about housing can produce. The first
                                             disparate impact’’).                                                                                              occurs when that decision has a greater adverse
                                                93 See 12 CFR part 1002, Supp. I, Official Staff
                                                                                                       in the United States.’’ 101 Accordingly,                impact on one racial group than on another. The
                                             Commentary, Comment 6(a)-2 (discriminatory effect         the Act prohibits two kinds of                          second is the effect which the decision has on the
                                             may exist when a creditor practice ‘‘has a                unjustified discriminatory effects: (1)                 community involved; if it perpetuates segregation
                                             disproportionately negative impact on a prohibited        harm to a particular group of persons by                and thereby prevents interracial association it will
                                             basis’’).                                                                                                         be considered invidious under the Fair Housing Act
                                                94 See 24 CFR 100.500(c); see also 76 FR 70925.
                                                                                                       a disparate impact; and (2) harm to the                 independently of the extent to which it produces
                                                95 See 42 U.S.C. 2000e–2(k)(1)(B)(i) (‘‘[T]he          community generally by creating,                        a disparate effect on different racial groups.’’)
                                             complaining party shall demonstrate that each             increasing, reinforcing, or perpetuating                (internal citations omitted); Hallmark Developers,
                                             particular challenged employment practice causes a                                                                Inc. v. Fulton County, 386 F. Supp. 2d 1369, 1383
                                             disparate impact, except that if the complaining                                                                  (N.D. Ga. 2005) (‘‘Of course there are two kinds of
                                                                                                         97 See nn. 6–7, 65–69 and accompanying text,
                                             party can demonstrate to the court that the elements                                                              racially discriminatory effect which can be
                                                                                                       supra; 76 FR 70922.                                     produced by a facially neutral decision. If the
                                             of a respondent’s decisionmaking process are not
                                                                                                         98 As discussed in the ‘‘Definition of
                                             capable of separation for analysis, the                                                                           decision or action perpetuates segregation and
                                             decisionmaking process may be analyzed as one             Discriminatory Effect’’ section, the final rule         thereby prevents interracial association it will be
                                             employment practice’’).                                   amends the definition of ‘‘discriminatory effect’’ to   considered invidious under the Fair Housing Act
                                                96 See, e.g., Hargraves v. Capital City Mortg. Corp,   make it more concise and more consistent with           independently of the extent to which it produces
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                                             140 F. Supp. 2d 7, 20–22 (D.D.C. 2000) (finding that      terminology used in case law, but its substance is      a disparate effect on different racial groups.’’)
                                             ‘‘predatory lending’’ in African American                 unchanged.                                              (internal citations omitted).
                                                                                                         99 Trafficante, 409 U.S. at 211 (citing 114 Cong.        103 See, e.g., Huntington Branch, 844 F.2d at 937;
                                             neighborhoods, which included exorbitant interest
                                             rates, lending based on the value of the asset rather     Rec. 3422 (Feb. 20, 1968) (statement of Senator         Arlington Heights, 558 F.2d at 1291; Black Jack, 508
                                             than a borrower’s ability to repay, profiting by          Mondale)).                                              F.2d at 1184–86; Summerchase Ltd. Pshp. I, et al.
                                                                                                         100 Trafficante, 409 U.S. at 211 (citing 114 Cong.    v. City of Gonzales, et al., 970 F. Supp. 522, 527–
                                             acquiring the property through default, repeated
                                             foreclosures, and loan servicing procedures with          Rec. 2706 (1968) (Statement of Senator Javits)).        28 (M.D. La. 1997); Dews, 109 F. Supp. 2d at 567–
                                             excessive fees, could disparately impact African            101 H.R. Res. 1095, 110th Cong., 154 Cong. Rec.       68.
                                             Americans).                                               H2280–01 (April 15, 2008).                                 104 See supra note 28.




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                                             segregation in housing.’’ 105 For                       1. Substantial, Legitimate,                             been applying these concepts without
                                             consistency with the terminology used                   Nondiscriminatory Interests,                            incident.109
                                             in this case law, the final rule adds the               § 100.500(b)(1)                                            Issue: Commenters requested that
                                             term ‘‘reinforces’’ to the definition of                                                                        ‘‘legitimate, nondiscriminatory
                                             ‘‘discriminatory effect.’’                                 Issue: Although some commenters                      interests’’ be replaced or equated with
                                                In response to the comment regarding                 supported the use of the phrase                         ‘‘business necessity.’’ This would, in
                                             the facts of the cases HUD cited as                     ‘‘legitimate, nondiscriminatory                         their view, be consistent with judicial
                                             examples in the proposed rule’s                         interest,’’ a commenter asked that the                  interpretations of the Fair Housing Act,
                                             preamble, HUD notes that those                          final rule provide a definition of the                  with HUD’s regulations governing
                                             cases 106 are not exhaustive and                        phrase to ensure that the standard is                   Fannie Mae and Freddie Mac, and with
                                             therefore should not be viewed as the                   applied uniformly. Commenters stated                    the Joint Policy Statement. Commenters
                                             only ways that a violation of the Act                   that the word ‘‘substantial’’ or ‘‘clearly’’            stated that the Joint Policy Statement is
                                             may be established based on a                           should modify the phrase                                well established and provides a clear,
                                             discriminatory effects theory. Moreover,                ‘‘nondiscriminatory interests,’’                        predictable standard to covered entities.
                                             even if the facts of a particular case                  reasoning that justifying discrimination                Several commenters expressed concern
                                             suggest intentional discrimination, in                  with an interest that may be of little or               that the proposed standard requiring a
                                             many instances both an intent to                        no importance to the defendant or                       ‘‘legitimate’’ justification was weaker
                                             discriminate and a discriminatory effect                respondent would run contrary to                        than, and would be interpreted as
                                             may exist, and a charging party or                      Congress’s goal of providing for fair                   requiring less than, the ‘‘business
                                             plaintiff may bring a claim alleging                    housing within constitutional                           necessity’’ standard.
                                             either or both intent and effect as                     limitations.                                               HUD Response: In its adjudications
                                             alternative theories of liability.                                                                              under the Fair Housing Act, HUD has
                                                                                                        HUD Response: HUD agrees that, in                    required respondents to prove that their
                                             Regardless, as explained throughout this                order to effectuate the Fair Housing
                                             preamble, and in case law,                                                                                      challenged practices are justified by
                                                                                                     Act’s broad, remedial goal, practices                   business necessity.110 The other federal
                                             discriminatory intent is not required for               with discriminatory effects cannot be
                                             a violation of the Act under an effects                                                                         regulatory and enforcement agencies
                                                                                                     justified based on interests of an                      involved in the investigation of lending
                                             theory.                                                 insubstantial nature. Accordingly, HUD                  discrimination have taken the same
                                             C. Legally Sufficient Justification,                    is making clear in this final rule that any             approach.111 The ‘‘substantial,
                                             § 100.500(b)(1)                                         interest justifying a practice with a                   legitimate, nondiscriminatory interest’’
                                                                                                     discriminatory effect must be                           standard found in § 100.500(b)(1) is
                                                In response to comments, this final                  ‘‘substantial.’’ A ‘‘substantial’’ interest is          equivalent to the ‘‘business necessity’’
                                             rule slightly revises the first prong of                a core interest of the organization that                standard found in the Joint Policy
                                             ‘‘legally sufficient justification,’’ as                has a direct relationship to the function               Statement. The standard set forth in this
                                             provided in the November 16, 2011,                      of that organization. The requirement                   rule is not to be interpreted as a more
                                             proposed rule, which is required to                     that an entity’s interest be substantial is             lenient standard than ‘‘business
                                             sustain a practice with a discriminatory                analogous to the Title VII requirement                  necessity.’’ HUD chooses not to use the
                                             effect under the Act.                                   that an employer’s interest in an                       phrase ‘‘business necessity’’ in the rule
                                                Proposed § 100.500(b)(1) provided: ‘‘A               employment practice with a disparate                    because the phrase may not be easily
                                             legally sufficient justification exists                 impact be job related.107 HUD uses the                  understood to cover the full scope of
                                             where the challenged housing practice:                  more general standard of substantiality                 practices covered by the Fair Housing
                                             (1) Has a necessary and manifest                        because there is no single objective,                   Act, which applies to individuals,
                                             relationship to one or more legitimate,                 such as job-relatedness, against which                  businesses, nonprofit organizations, and
                                             nondiscriminatory interests of the                      every practice covered by the Fair                      public entities. Using the phrase
                                             respondent * * * or defendant.’’                        Housing Act could be measured. The                      ‘‘business necessity’’ might confuse
                                                Final § 100.500(b)(1) provides: ‘‘A                  determination of whether goals,                         litigating parties and the courts as to
                                             legally sufficient justification exists                 objectives, and activities are of                       how the term might apply, for example,
                                             where the challenged practice: (1) Is                   substantial interest to a respondent or                 to a nonprofit organization that provides
                                             necessary to achieve one or more                        defendant such that they can justify                    housing or housing-related services, or
                                             substantial, legitimate,                                actions with a discriminatory effect                    to a branch of state or local government
                                             nondiscriminatory interests of the                      requires a case-specific, fact-based                    carrying out its functions. The standards
                                             respondent * * * or defendant * * * A                                                                           in § 100.500 apply equally to
                                                                                                     inquiry.
                                             legally sufficient justification must be                                                                        individuals, public entities, and for-
                                             supported by evidence and may not be                       The word ‘‘legitimate,’’ used in its
                                             hypothetical or speculative.’’                          ordinary meaning, is intended to ensure                    109 See, e.g., Darst-Webbe Tenant Ass’n Bd. v. St.

                                                Comments were received with respect                  that a justification is genuine and not                 Louis Hous. Auth., 417 F.3d 898, 902 (8th Cir. 2005)
                                             to proposed § 100.500(b)(1), some                       false,108 while the word                                (defendant must prove that challenged action is
                                                                                                     ‘‘nondiscriminatory’’ is intended to                    necessary to achieve ‘‘legitimate, non-
                                             agreeing with the standard as stated;                                                                           discriminatory policy objectives’’); Charleston
                                             some recommending that § 100.500(b)(1)                  ensure that the justification for a                     Hous. Auth. v. U.S. Dept. of Agric. 419 F.3d 729
                                             set either a higher or lower standard of                challenged practice does not itself                     (same).
                                             proof for defendants and respondents;                   discriminate based on a protected                          110 See, e.g., 1998 Enforcement Handbook at 2–30

                                             and some suggesting that HUD provide                    characteristic. HUD and federal courts                  (instructing HUD investigators that a respondent’s
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                                                                                                     interpreting the Fair Housing Act have                  policy must be justified by a ‘‘business necessity’’);
                                             definitions for certain terms or use                                                                            HUD v. Carlson, 1995 WL 365009, at *14 (HUD ALJ
                                             slightly different terms to make the                                                                            June 12, 1995) (‘‘The Respondent has the burden to
                                             regulatory provision easier to                            107 See 42 U.S.C. 2000e-2(k)(1)(A)(i).                overcome the prima facie case by establishing a
                                             understand and apply.                                     108 See, e.g., Legitimate Definition, Merriam-        business necessity for the policy.’’); Joint Policy
                                                                                                     Webster’s Dictionary, http://www.merriam-               Statement, 59 FR at 18269 (requiring a challenged
                                                                                                     webster.com/dictionary/necessary (last visited Mar.     policy or practice to be ‘‘justified by ‘business
                                               105 Huntington Branch, 844 F.2d at 937–38.                                                                    necessity’ ’’).
                                                                                                     15, 2012) (defining ‘‘legitimate’’ as ‘‘neither
                                               106 See 76 FR 70925.                                  spurious nor false’’).                                     111 See Joint Policy Statement, 59 FR at 18269.




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                                             profit and nonprofit private entities                   expressed uncertainty about what the                        Issue: A commenter suggested that the
                                             because, as discussed below, neither the                term was intended to mean and how it                     phrase ‘‘necessary and manifest’’ should
                                             text of the Act nor its legislative history             would be interpreted by HUD or by                        be defined.
                                             supports drawing a distinction among                    federal courts. Two commenters                              HUD Response: As discussed above,
                                             them. Accordingly, HUD has chosen                       expressed concern that the term                          HUD has removed the word ‘‘manifest’’
                                             terminology that, while equivalent to its               ‘‘manifest’’ may involve a subjective                    in the final rule in order to avoid any
                                             previous guidance in the Joint Policy                   evaluation and others did not                            potential confusion. Thus,
                                             Statement, applies readily to all covered               understand the evidentiary concept                       § 100.500(b)(1) is slightly revised at this
                                             entities and all covered activities.                    embodied in the term. A commenter                        final rule stage to state that a respondent
                                                Issue: Some commenters expressed                     urged HUD to make clear in the                           or defendant seeking to defend a
                                             concern that the term ‘‘legitimate’’                    language of the final rule, in addition to               challenged practice with a
                                             allows for subjective review of a                       the preamble, that a justification may                   discriminatory effect must prove that
                                             proffered justification.                                not be hypothetical or speculative.                      the practice ‘‘is necessary to achieve one
                                                HUD Response: HUD and courts have                       HUD Response: In the proposed rule,                   or more substantial, legitimate,
                                             reviewed justifications proffered by                    the term ‘‘manifest’’ was used to convey                 nondiscriminatory interests’’ of the
                                             covered entities for many years. While                  defendants’ and respondents’ obligation                  respondent or defendant. In the
                                             the review is very fact intensive, it is not            to provide evidence of the actual need                   proposed rule, as well as this final rule,
                                             subjective. Whether an interest is                      for the challenged practices, instead of                 HUD uses ‘‘necessary’’ in its ordinary,
                                             ‘‘legitimate’’ is judged on the basis of                relying on speculation, hypothesis,                      most commonly used sense.
                                             objective facts establishing that the                   generalization, stereotype, or fear. HUD                    Issue: Some commenters suggested
                                             proffered justification is genuine, and                 recognizes that some commenters were                     that HUD remove the word ‘‘necessary’’
                                             not fabricated or pretextual.112 HUD and                confused by the term ‘‘manifest.’’ In                    to make the standard found in
                                             courts have engaged in this inquiry for
                                                                                                     response to these concerns, HUD is                       § 100.500(b)(1) consistent with the Title
                                             decades without encountering issues
                                                                                                     replacing the term ‘‘manifest’’ in the                   VII standard set out in the Supreme
                                             related to the subjectivity of the inquiry.
                                                                                                     final rule with the requirement, added                   Court’s opinion in Wards Cove Packing
                                             HUD therefore believes that concerns
                                                                                                     in § 100.500(b)(2), that ‘‘a legally                     Co. v. Atonio, 490 U.S. 642 (1989).
                                             about subjective reviews of proffered
                                                                                                     sufficient justification must be                         Commenters suggested various
                                             justifications are not warranted.
                                                Issue: A commenter requested that the                supported by evidence and may not be                     standards without the word
                                             final rule expressly state that increasing              hypothetical or speculative.’’ This                      ‘‘necessary,’’ including requiring that
                                             profits, minimizing costs, and                          language is intended to convey that                      the challenged practice have ‘‘a
                                             increasing market share qualify as                      defendants and respondents, relying on                   legitimate business purpose,’’ that the
                                             legitimate, nondiscriminatory interests.                a defense under § 100.500(b)(1), must be                 challenged practice have ‘‘a legitimate
                                             Similarly, another commenter asked                      able to prove with evidence the                          nondiscriminatory purpose,’’ or that the
                                             that the final rule codify examples of                  substantial, legitimate,                                 challenged practice be ‘‘rationally
                                             tenant screening criteria such as rental                nondiscriminatory interest supporting                    related to a legitimate,
                                             history, credit checks, income                          the challenged practice and the                          nondiscriminatory goal.’’
                                             verification, and court records that                    necessity of the challenged practice to                     HUD Response: HUD declines to
                                             would be presumed to qualify as legally                 achieve that interest. This language is                  adopt the commenters’ suggestion to
                                             sufficient justifications.                              consistent with HUD’s longstanding                       remove ‘‘necessary’’ from the rule.
                                                HUD Response: HUD is not adopting                    application of effects liability under the               HUD’s substantial experience in
                                             these suggestions because the Fair                      Fair Housing Act, is easy to understand,                 administering the Fair Housing Act
                                             Housing Act covers many different                       can be uniformly applied by federal and                  confirms that requiring a challenged
                                             types of entities and practices, and a                  state courts and administrative agencies,                practice with a discriminatory effect to
                                             determination of what qualifies as a                    and is unlikely to cause confusion or                    be necessary best effectuates the broad,
                                             substantial, legitimate,                                unnecessary litigation about its                         remedial goal of the Act. Indeed, in
                                             nondiscriminatory interest for a given                  meaning. HUD notes that this language                    1994 HUD and ten other federal
                                             entity is fact-specific and must be                     is also consistent with the application of               agencies notified lenders of the
                                             determined on a case-by-case basis.                     the standard by other federal regulatory                 requirement to justify the
                                             Accordingly, the final rule does not                    and enforcement agencies under both                      discriminatory effect of a challenged
                                             provide examples of interests that                      the Fair Housing Act and ECOA,113 with                   lending practice under the Fair Housing
                                             would always qualify as substantial,                    the approach taken under Title VII,114                   Act and ECOA by showing that the
                                             legitimate, nondiscriminatory interests                 and with the approach taken by a                         practice is necessary to their
                                             for every respondent or defendant in                    number of federal courts interpreting                    business.116 Moreover, in 1997, HUD
                                             any context.                                            the Fair Housing Act.115
                                                                                                                                                              NAACP v. Town of Huntington, 844 F.2d at 938,
                                             2. Relationship Between Challenged                        113 See Joint Policy Statement, 59 FR at 18269
                                                                                                                                                              aff’d, 488 U.S. 15 (1988) (per curiam) (same).
                                             Practice and Asserted Interest,                         (‘‘The justification must be manifest and may not           116 See Joint Policy Statement, 59 FR 18,269 (the

                                             § 100.500(b)(1)                                         be hypothetical or speculative.’’)                       second step of a disparate impact analysis under the
                                                                                                        114 See 42 U.S.C. 2000e–2(k)(1)(A)(i) (the
                                                                                                                                                              Fair Housing Act and ECOA is to ‘‘determine
                                                Issue: Several commenters expressed                  respondent must ‘‘demonstrate that the challenged        whether the policy or practice is justified by
                                             concern with HUD’s use of the term                      practice is job related for the position in question     ‘business necessity.’ ’’) id. (giving an example of a
                                                                                                     and consistent with business necessity’’) (emphasis      policy that may violate the Fair Housing Act and
                                             ‘‘manifest’’ in the proposed requirement
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                                                                                                     added).                                                  ECOA since ‘‘the lender is unlikely to be able to
                                             that the challenged practice have a                        115 See, e.g., Charleston Hous. Auth. v. U.S. Dep’t   show that the policy is compelled by business
                                             ‘‘necessary and manifest relationship’’                 of Agric., 419 F.3d 729, 741 (8th Cir. 2005) (the        necessity’’); see also Office of the Comptroller of the
                                             to one or more legitimate,                              challenged housing practice must have a ‘‘manifest       Currency, Federal Depository Insurance
                                             nondiscriminatory interests of the                      relationship’’ to the defendant’s objectives);           Corporation, Federal Reserve Board, Office of Thrift
                                                                                                     Resident Advisory Bd. v. Rizzo, 564 F.2d at 149 (‘‘a     Supervision, National Credit Union Administration,
                                             respondent or defendant. Commenters                     justification must serve, in theory and practice, a      The Interagency Fair Lending Examination
                                                                                                     legitimate, bona fide interest of the Title VIII         Procedures app. at 28, August 2009, available at
                                               112 See note 109, supra.                              defendant’’) (emphasis added); Huntington Branch,        http://www.ffiec.gov/pdf/fairappx.pdf.


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                                             promulgated a regulation recognizing                    business necessity in a rule that clearly             discriminatory effect.122 If the fact-
                                             that section 805 of the Act 117 does not                allocates the burdens of proof among the              finder decides that the charging party or
                                             prevent consideration, in the purchasing                parties, HUD is not changing                          plaintiff has not proven that the
                                             of loans, of factors that are necessary to              substantive law, but merely clarifying                challenged practice resulted in a
                                             a business.118 In addition, in 1988 the                 the contours of an available defense so               discriminatory effect, liability will not
                                             House Committee on the Judiciary, in                    that lenders may rely upon it with                    attach.
                                             advancing a bill amending the Fair                      greater clarity as to how it applies.                    Issue: A commenter expressed
                                             Housing Act, recognized that liability                     Issue: A commenter expressed the                   concern that, under the proposed rule,
                                             should not attach when a justification is               concern that requiring a respondent or                a legally sufficient justification under
                                             necessary to the covered entity’s                       defendant to prove necessity would                    § 100.500(b)(1) may not be hypothetical
                                             business.119 HUD’s view is also                         subject the respondent or defendant to                or speculative but a discriminatory
                                             consistent with Congress’s 1991                         unnecessary and possibly frivolous                    effect under § 100.500(a) may be,
                                             enactment of legislation codifying that,                investigations and litigation. Another                creating an imbalance in the burden of
                                             in the employment context, a practice                   commenter took the opposite position,                 proof in favor of the charging party or
                                             that has a disparate impact must be                     stating that the rule would not create                plaintiff.
                                             consistent with ‘‘business necessity’’                  excessive litigation exposure for                        HUD Response: This comment
                                             and must also be ‘‘job related.’’ 120 HUD               respondents or defendants because                     indicates a misunderstanding of what
                                             also notes that a similar necessity                     numerous procedural mechanisms exist                  § 100.500 requires. Requiring the
                                             requirement is found in ECOA, which                     to dispose of meritless cases. A                      respondent or defendant to introduce
                                             requires that a challenged practice                     commenter stated that, at the second                  evidence (instead of speculation)
                                             ‘‘meets a legitimate business need.’’ 121               stage of the burden-shifting analysis, a              proving that a challenged practice is
                                             HUD’s final rule therefore uses language                defendant should have the opportunity                 necessary to achieve one or more
                                             that is consistent with its longstanding                to demonstrate not only a legally                     substantial, legitimate,
                                             interpretation of the Fair Housing Act,                 sufficient justification, but also that the           nondiscriminatory interests in order to
                                             comparable to the protections afforded                  charging party or plaintiff did not satisfy           benefit from the defense to liability is
                                             under Title VII and ECOA, and fairly                    its prima facie case because the                      not different in kind from requiring the
                                             balances the interests of all parties.                  challenged practice did not result in a               charging party or plaintiff to introduce
                                                Issue: A commenter expressed                         discriminatory effect.                                evidence (not speculation) proving that
                                             concern that requiring a ‘‘necessary’’                     HUD Response: Given how the                        a challenged practice caused or will
                                             relationship may interfere with loss                    discriminatory effects framework has                  predictably cause a discriminatory
                                             mitigation efforts, including those under               been applied to date by HUD and by the                effect. As discussed in this preamble,
                                             the Home Affordable Modification                        courts, HUD does not believe that the                 the language of the Act makes clear that
                                             Program (HAMP) and Home Affordable                                                                            it is intended to address discrimination
                                                                                                     rule will lead to frivolous investigations
                                             Refinance Program (HARP)—federal                                                                              that has occurred or is about to occur,
                                                                                                     or create excessive litigation exposure
                                             programs that encourage mortgage                                                                              and not hypothetical or speculative
                                                                                                     for respondents or defendants. As
                                             servicers to offer modifications of loans                                                                     discrimination.
                                                                                                     discussed above, since at least 1994,
                                             or refinances—because such efforts are                  when the Joint Policy Statement was                   D. Less Discriminatory Alternative,
                                             voluntary and participation in them                     issued, lenders have known that they                  § 100.500(b)(2)
                                             may not be perceived as ‘‘necessary.’’                  must prove the necessity of a challenged
                                                HUD Response: Since at least the date                                                                         Some comments were received with
                                                                                                     practice to their business. Moreover,                 respect to § 100.500(b)(2) of the
                                             of issuance of the Joint Policy Statement
                                                                                                     HUD believes that promulgation of this                proposed rule. With that provision,
                                             in 1994, lenders have been on notice
                                             that they must prove the necessity of a                 rule—with its clear allocation of                     HUD proposed that a practice with a
                                             challenged practice to their business                   burdens and clarification of the                      discriminatory effect may be justified
                                             under both the Fair Housing Act and                     showings each party must make—has                     only if the respondent’s or defendant’s
                                             ECOA. This requirement has not                          the potential to decrease or simplify this            interests cannot be served by another
                                             prevented lenders or servicers from                     type of litigation. For example, with a               practice with a less discriminatory
                                             engaging in effective loss mitigation                   clear, uniform standard, covered entities             effect. In response to these comments,
                                             efforts. The mere fact that a policy is                 can conduct consistent self-testing and               the final rule makes one slight revision
                                             voluntarily adopted does not preclude it                compliance reviews, document their                    to the proposed provision by
                                             from being necessary to achieve a                       substantial, legitimate                               substituting ‘‘could not be served’’ for
                                             substantial, legitimate,                                nondiscriminatory interests, and resolve              ‘‘cannot be served.’’
                                             nondiscriminatory interest. By                          potential issues so as to prevent future                 Issue: A commenter requested that
                                             formalizing the process of proving                      litigation. A uniform standard is also a              HUD replace ‘‘cannot be served’’ with
                                                                                                     benefit to entities operating in multiple             ‘‘would not be served’’ because, under
                                               117 42 U.S.C. 3605.                                   jurisdictions. To the extent that the rule            the Supreme Court’s analysis in Wards
                                                118 See 24 CFR 100.125(c); cf. Darst-Webbe           results in more plaintiffs being aware of             Cove, a plaintiff cannot prevail by
                                             Tenant Ass’n Bd. v. St. Louis Hous. Auth., 417 F.3d,    potential effects liability under the Fair            showing that a less discriminatory
                                             at 902 (the challenged practice must be ‘‘necessary     Housing Act, it should have the same                  alternative could in theory serve the
                                             to the attainment of ’’ the defendant’s objectives)
                                             (internal citation omitted); see also Affordable        impact on covered entities, resulting in              defendant’s business interest. This
                                             Hous. Dev. Corp. v. City of Fresno, 433 F.3d 1182,      greater awareness and compliance with                 commenter also stated that, in order for
                                             1195 (9th Cir. 2006) (describing the Eighth Circuit’s   the Fair Housing Act. Additionally, as a              liability to attach, a less discriminatory
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                                             approach as ‘‘sound’’).
                                                119 H.R. Rep. No. 100–711, at 2191 (1988) (‘‘The
                                                                                                     commenter noted, the Federal Rules of                 alternative must have been known to
                                             Committee does not intend that those purchasing         Civil Procedure provide various means                 and rejected by the respondent or
                                             mortgage loans be precluded from taking into            to dispose of meritless claims, including
                                             consideration factors justified by business             Rules 11, 12, and 56. Moreover, a                       122 See, e.g., Dothard v. Rawlinson, 433 U.S. 321,
                                             necessity.’’).                                                                                                331 (1977) (Title VII case explaining that a
                                                120 See 42 U.S.C. 2000e–2(k)(1)(A).
                                                                                                     respondent or defendant may avoid
                                                                                                                                                           defendant is ‘‘free to adduce countervailing
                                                121 12 CFR part 1002, Supp. I, Official Staff        liability by rebutting the charging                   evidence of his own’’ in order to discredit a
                                             Commentary, Comment 6(a)(2).                            party’s or plaintiff’s proof of                       plaintiff’s evidence of disparate impact).


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                                             defendant. Other commenters stated                      ‘‘equally effective,’’ borrowed from the              E. Allocations of Burdens of Proof in
                                             that, in order for liability to attach, the             superseded Wards Cove case, is even                   § 100.500(c)
                                             alternative practice must be equally                    less appropriate in the housing context                  In the proposed rule, HUD set forth a
                                             effective as the challenged practice, or at             than in the employment area in light of               burden-shifting framework in which the
                                             least as effective as the challenged                    the wider range and variety of practices              plaintiff or charging party would bear
                                             practice, with some of these                            covered by the Act that are not readily               the burden of proving a prima facie case
                                             commenters pointing to Wards Cove in                    quantifiable. For a similar reason, HUD               of discriminatory effect, the defendant
                                             support of this position. A number of                   does not adopt the suggestion that the                or respondent would bear the burden of
                                             other commenters, on the other hand,                    less discriminatory alternative proffered             proving a legitimate, nondiscriminatory
                                             cited to Fair Housing Act case law for                  by the charging party or plaintiff must               interest for the challenged practice, and
                                             the proposition that liability should                   be accepted unless it creates an ‘‘undue              the plaintiff or charging party would
                                             attach unless the less discriminatory                   hardship’’ on the respondent or                       bear the burden of proving that a less
                                             alternative would impose an undue                       defendant. The ‘‘undue hardship’’                     discriminatory alternative exists.
                                             hardship on the respondent or                           standard, which is borrowed from the                     Issue: Some commenters stated that
                                             defendant under the circumstances of                    reasonable accommodation doctrine in                  the plaintiff or charging party should
                                             the particular case.                                    disability law, would place too heavy a               bear the burden of proof at all stages of
                                                HUD Response: HUD agrees that a less                 burden on the respondent or defendant.                the proceedings, either citing Wards
                                             discriminatory alternative must serve                                                                         Cove in support of this position or
                                             the respondent’s or defendant’s                            In addition, HUD does not agree with
                                                                                                     the commenter who stated that Wards                   reasoning that, in our legal system, the
                                             substantial, legitimate                                                                                       plaintiff normally carries the burden of
                                             nondiscriminatory interests, must be                    Cove requires the charging party or
                                                                                                     plaintiff to show that, prior to litigation,          proving each element of his claim.
                                             supported by evidence, and may not be                                                                         Other commenters asked HUD to modify
                                             hypothetical or speculative. For greater                a respondent or defendant knew of and
                                                                                                     rejected a less discriminatory                        § 100.500(c)(3) in order to place the
                                             consistency with the terminology used                                                                         burden of proving no less
                                             in HUD’s (and other federal regulatory                  alternative,126 or that Wards Cove even
                                                                                                     governs Fair Housing Act claims. HUD                  discriminatory alternative on the
                                             agencies’) previous guidance in the Joint                                                                     defendant or respondent. Those
                                             Policy Statement,123 the final rule                     believes that adopting this requirement
                                                                                                     in the housing context would be                       recommending that the burden
                                             replaces ‘‘cannot be served’’ with                                                                            allocation be modified in this way
                                             ‘‘could not be served.’’ A corresponding                unjustified because it would create an
                                                                                                     incentive not to consider possible ways               reasoned that the respondent or
                                             change of ‘‘can’’ to ‘‘could’’ is also made                                                                   defendant is in a better position to bear
                                             in § 100.500(c)(3) of the final rule. HUD               to produce a less discriminatory result.
                                                                                                     Encouraging covered entities not to                   this burden because of greater
                                             does not believe the rule’s language                                                                          knowledge of, and access to,
                                             needs to be further revised to state that               consider alternatives would be
                                                                                                     inconsistent with Congress’s goal of                  information concerning the
                                             the less discriminatory alternative must                                                                      respondent’s or defendant’s interests
                                             be ‘‘equally effective,’’ or ‘‘at least as              providing for fair housing throughout
                                                                                                     the country.                                          and whether a less discriminatory
                                             effective,’’ in serving the respondent’s or                                                                   alternative could serve them. Several
                                             defendant’s interests; the current                         Issue: Two commenters expressed                    commenters stated that this is
                                             language already states that the less                   concern that, under the proposed rule’s               particularly true in the context of
                                             discriminatory alternative must serve                   language, the discriminatory effect of an             government decisions, as complainants
                                             the respondent’s or defendant’s                         alternative would be considered but a                 and plaintiffs will generally be outside
                                             interests, and the current language is                  lender’s concerns such as credit risk                 the political decision-making process,
                                             consistent with the Joint Policy                        would be irrelevant.                                  and in the context of insurance and
                                             Statement, with Congress’s codification                                                                       lending decisions, where proprietary
                                                                                                        HUD Response: HUD believes these
                                             of the disparate impact standard in the                                                                       information and formulas used in the
                                                                                                     commenters’ concerns will not be
                                             employment context,124 and with                                                                               decision making process may be
                                                                                                     realized in practice because a less
                                             judicial interpretations of the Fair                                                                          vigorously protected.
                                                                                                     discriminatory alternative need not be
                                             Housing Act.125 The additional modifier                                                                          Commenters stated that complainants
                                                                                                     adopted unless it could serve the
                                                123 See Joint Policy Statement, 59 FR at 18269       substantial, legitimate,                              and plaintiffs may not have the capacity
                                             (‘‘Even if a policy or practice that has a disparate    nondiscriminatory interest at issue. The              to evaluate possible less discriminatory
                                             impact on a prohibited basis can be justified by        final rule specifically provides that the             alternatives. Some commenters also
                                             business necessity, it still may be found to be         interests supporting a challenged                     pointed out that assigning this burden to
                                             discriminatory if an alternative policy or practice                                                           the respondent or defendant may avoid
                                             could serve the same purpose with less                  practice are relevant to the
                                             discriminatory effect.’’)                               consideration of whether a less                       intrusive and expensive discovery into
                                                124 See 42 U.S.C. 2000e–2(k)(1)(A)(i) (‘‘the         discriminatory alternative exists. As                 a respondent’s or defendant’s decision-
                                             concept of ‘alternative employment practice’ ’’         stated in § 100.500(c)(3), the charging               making process, and would incentivize
                                             under Title VII ‘‘shall be in accordance with the law                                                         entities subject to the Act to consider
                                             as it existed on June 4, 1989’’); Albemarle Paper Co.
                                                                                                     party or plaintiff must show that the less
                                                                                                     discriminatory alternative could serve                less discriminatory options when
                                             v. Moody, 422 U.S. 405, 425 (1975) (‘‘[I]t remains
                                             open to the complaining party to show that other        the ‘‘interests supporting the challenged             making decisions. Commenters also
                                             tests or selection devises, without a similarly         practice.’’ Thus, if the lender’s interest            stated that courts have placed this
                                             undesirable racial effect, would also serve the
                                                                                                     in imposing the challenged practice                   burden of proof on the defendant, others
                                             employer’s legitimate interest.’’).                                                                           have placed it on the party for whom
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                                                125 See, e.g., Darst-Webbe, 417 F.3d at 906          relates to credit risk, the alternative
                                             (‘‘plaintiffs must offer a viable alternative that      would also need to effectively address                proof is easiest, and reliance on Title VII
                                             satisfies the Housing Authority’s legitimate policy     the lender’s concerns about credit risk.              is inappropriate because of the unique
                                             objectives while reducing the [challenged                                                                     nature of less discriminatory
                                             practice’s] discriminatory impact’’); Huntington,                                                             alternatives in Fair Housing Act cases.
                                             844 F.2d at 939 (analyzing whether the ‘‘[t]own’s       that would enable [the defendant’s] interest to be
                                             goal * * * can be achieved by less discriminatory       served with less discriminatory impact.’’).              HUD Response: HUD believes that the
                                             means’’); Rizzo, 564 F.2d at 159 (it must be              126 See Wards Cove Packing Co., Inc. v. Atonio,     burden of proof allocation in
                                             analyzed whether an alternative ‘‘could be adopted      490 U.S. 642, 660–61 (1989).                          § 100.500(c) is the fairest and most


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                                             reasonable approach to resolving the                     confusion and more consistent decision                 Congress intended to distinguish the
                                             claims. As the proposed rule stated, this                making by the fact finder in jury trials.              manner in which the Act applies to
                                             framework makes the most sense                              With respect to expressed concerns                  public versus private entities.135
                                             because it does not require either party                 about the ability of plaintiffs or                        Issue: A commenter expressed the
                                             to prove a negative. Moreover, this                      complainants to demonstrate a less                     opinion that the Fair Housing Act does
                                             approach will ensure consistency in                      discriminatory alternative, plaintiffs in              not grant HUD the power to promulgate
                                             applying the discriminatory effects                      litigation in federal courts may rely on               retroactive rules, and therefore HUD
                                             standard while creating the least                        Rule 26(b)(1) of the Federal Rules of                  should make clear that the final rule
                                                                                                      Civil Procedure for the discovery of                   applies prospectively only.
                                             disruption because, as discussed earlier                                                                           HUD Response: This final rule
                                                                                                      information ‘‘that is relevant to any
                                             in this preamble, HUD and most courts                                                                           embodying HUD’s and the federal
                                                                                                      party’s claim or defense,’’ 133 and parties
                                             utilize a burden-shifting framework,127                  in an administrative proceeding may                    courts’ longstanding interpretation of
                                             and most federal courts using a burden-                  rely on Rule 26(b)(1) and a similar                    the Act to include a discriminatory
                                             shifting framework allocate the burdens                  provision in HUD’s regulations.134 The                 effects standard will apply to pending
                                             of proof in this way.128 In addition,                    application of those standards would                   and future cases. HUD has long
                                             HUD notes that this burden-shifting                      plainly provide for the discovery of                   recognized, as have the courts, that the
                                             scheme is consistent with the Title VII                  information regarding the alternatives                 Act supports an effects theory of
                                             discriminatory effects standard codified                 that exist to achieve an asserted interest,            liability. This rule is not a change in
                                             by Congress in 1991.129 It is also                       the extent to which such alternatives                  HUD’s position but rather a formal
                                             consistent with the discriminatory                       were considered, the reasons why such                  interpretation of the Act that clarifies
                                             effects standard under ECOA,130 which                    alternatives were rejected, and the data               the appropriate standards for proving a
                                             borrows from Title VII’s burden-shifting                 that a plaintiff or plaintiff’s expert could           violation under an effects theory. As
                                             framework.131 There is significant                       use to show that the defendant did not                 such, it ‘‘is no more retroactive in its
                                             overlap in coverage between ECOA,                        select the least discriminatory                        operation than is a judicial
                                             which prohibits discrimination in                        alternative. An appropriately tailored                 determination construing and applying
                                             credit, and the Fair Housing Act, which                  protective order can be issued by the                  a statute to a case in hand.’’ 136
                                                                                                      court to provide access to proprietary                    Issue: A commenter stated that the
                                             prohibits discrimination in residential
                                                                                                      information in the context of cases                    most appropriate remedy for a violation
                                             real estate-related transactions.132 Thus,
                                                                                                      involving confidential business                        of the Act under an effects theory is
                                             under the rule’s framework, in litigation                                                                       declaratory or injunctive relief. This
                                                                                                      information, such as those involving
                                             involving claims brought under both the                                                                         commenter expressed the opinion that
                                                                                                      insurance or lending, while providing to
                                             Fair Housing Act and ECOA, the parties                                                                          the use of penalties or punitive damages
                                                                                                      respondents and defendants adequate
                                             and the court will not face the burden                   protection from disclosure of this                     generally does not serve the underlying
                                             of applying inconsistent methods of                      information. Moreover, as noted above,                 purpose of the Fair Housing Act to
                                             proof to factually indistinguishable                     in administrative adjudications, it is the             remedy housing discrimination.
                                             claims. Having the same allocation of                    charging party, not non-intervening                       HUD Response: HUD disagrees with
                                             burdens under the Fair Housing Act and                   complainants, who bear this burden of                  the commenter. The Fair Housing Act
                                             ECOA will also provide for less                          proof.                                                 specifically provides for the award of
                                                                                                                                                             damages—both actual and punitive—
                                               127 See supra notes 29–33.
                                                                                                      F. Application of Discriminatory Effects               and penalties.137
                                               128 See supra notes 34, 35.                            Liability                                                 Issue: Commenters from the insurance
                                               129 See 42 U.S.C. 2000e–2(k).                             Comments were received with respect                 industry expressed a number of
                                                130 ECOA prohibits discrimination in credit on
                                                                                                      to how the discriminatory effects                      concerns about the application of the
                                             the basis of race and other enumerated criteria. See     standard would be applied and how it                   proposed rule to insurance practices.
                                             15 U.S.C. 1691.
                                                131 See S. Rep. No. 94–589, at 4–5 (1976)
                                                                                                      might impact covered entities. These                   Some commenters stated that
                                             (‘‘[J]udicial constructions of antidiscrimination        comments expressed varying concerns,                   application of the disparate impact
                                             legislation in the employment field, in cases such       including the retroactivity of the rule,               standard would interfere with state
                                             as Griggs v. Duke Power Company, 401 U.S. 424            its application to the insurance and                   regulation of insurance in violation of
                                             (1971), and Albemarle Paper Co. v. Mood, [422 U.S.       lending industries, and its impact on                  the McCarran-Ferguson Act (15 U.S.C.
                                             405 (1975)], are intended to serve as guides in the
                                             application of [ECOA], especially with respect to        developing affordable housing.                         1011–1015) or the common law ‘‘filed
                                             the allocations of burdens of proof.’’); 12 CFR             Issue: A commenter stated that each                 rate doctrine.’’ Some commenters stated
                                             1002.6(a) (‘‘The legislative history of [ECOA]           of the cases listed in the proposed rule               that HUD’s use of Ojo v. Farmers Group,
                                             indicates that the Congress intended an ‘effects test’   as examples of practices with a                        Inc., 600 F.3d 1205 (9th Cir. 2010), in
                                             concept, as outlined in the employment field by the      segregative effect involved a government               the preamble of the proposed rule was
                                             Supreme Court in the cases of Griggs v. Duke Power
                                             Co., 401 U.S. 424 (1971) and Albemarle Paper Co.         actor, while another commenter asked                   not appropriate.
                                             v. Moody, 422 U.S. 405 (1975), to be applicable to       HUD to clarify whether liability may
                                             a creditor’s determination of creditworthiness.’’); 12   attach to private parties.                                135 See 42 U.S.C. 3602(f) (defining

                                             CFR part 1002, Supp. I, Official Staff Commentary,          HUD Response: Liability for a practice              ‘‘discriminatory housing practice’’ as ‘‘an act that is
                                             Comment 6(a)–2 (‘‘Effects test. The effects test is a                                                           unlawful under section 804, 805, 806, or 818,’’ none
                                             judicial doctrine that was developed in a series of
                                                                                                      that has an unjustified discriminatory                 of which distinguish between public and private
                                             employment cases decided by the Supreme Court            effect may attach to either public or                  entities); see also Nat’l Fair Hous. Alliance, Inc. v.
                                             under Title VII of the Civil Rights Act of 1964 (42      private parties according to the                       Prudential Ins. Co. of Am., 208 F. Supp. 2d 46, 59–
                                             U.S.C. 2000e et seq.), and the burdens of proof for      standards in § 100.500, because there is               60 & n.7 (D.D.C. 2002) (applying the same impact
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                                             such employment cases were codified by Congress                                                                 analysis to a private entity as to public entities, and
                                                                                                      nothing in the text of the Act or its                  noting that a ‘‘distinction between governmental
                                             in the Civil Rights Act of 1991 (42 U.S.C. 2000e–
                                             2).’’).                                                  legislative history to indicate that                   and non-governmental bodies finds no support in
                                                132 See Joint Policy Statement, 59 FR 18266.                                                                 the language of the [Act] or in [its] legislative
                                             Indeed, the Joint Policy Statement analyzed the            133 Fed. R. Civ. P. 26(b)(1).                        history’’).
                                                                                                                                                                136 Pope v. Shalala, 998 F.2d 473, 483 (7th Cir.
                                             standard for proving disparate impact                       134 See 24 CFR 180.500(b) (‘‘parties may obtain

                                             discrimination in lending under the Fair Housing         discovery regarding any matter, not privileged, that   1993) (quoting Manhattan General Equip. Co. v.
                                             Act and under ECOA without any differentiation.          is relevant to the subject matter involved in the      Comm’r, 297 U.S. 129, 135 (1936)).
                                             See 59 FR 18269.                                         proceeding’’).                                            137 See 42 U.S.C. 3612–14.




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                                                HUD Response: HUD has long                              HUD Response: HUD believes that                           Issue: Another commenter expressed
                                             interpreted the Fair Housing Act to                     these concerns are misplaced. First, they                 concern that the citation to Miller v.
                                             prohibit discriminatory practices in                    presume that once a discriminatory                        Countrywide Bank, N.A., 571 F. Supp.
                                             connection with homeowner’s                             effect is shown, the policy at issue is per               2d 251 (D. Mass. 2008), in the preamble
                                             insurance,138 and courts have agreed                    se illegal. This is incorrect. Rather, as                 to the proposed rule suggested that
                                             with HUD, including in Ojo v. Farmers                   § 100.500 makes clear, the respondent or                  liability could exist under the Act for
                                             Group.139 Moreover, as discussed above,                 defendant has a full opportunity to                       the neutral actions of third parties and
                                             HUD has consistently interpreted the                    defend the business justifications for its                that such liability would be inconsistent
                                             Act to permit violations to be                          policies. This ‘‘burden-shifting                          with the Supreme Court’s decision in
                                             established by proof of discriminatory                  framework’’ distinguishes ‘‘unnecessary                   Meyer v. Holley, 537 U.S. 280 (2003).
                                             effect. By formalizing the discriminatory               barriers proscribed by the [Act] from                     This commenter requested that HUD
                                             effects standard, the rule will not, as one             valid policies and practices crafted to                   revise the proposed rule to articulate the
                                             commenter suggested, ‘‘undermine the                    advance legitimate interests.’’ 140 Thus,                 standard set forth in Meyer.
                                             states’ regulation of insurance.’’ The                  even if a policy has a discriminatory                        HUD Response: HUD does not agree
                                             McCarran-Ferguson Act provides that                     effect, it may still be legal if supported                with the commenter’s suggestion. HUD
                                             ‘‘[n]o Act of Congress shall be construed               by a legally sufficient justification.                    recognizes that pursuant to Meyer,
                                             to invalidate, impair, or supersede any                    Issue: Some commenters asked HUD                       liability under the Act for corporate
                                             law enacted by any State for the purpose                to exempt insurance pricing from the                      officers is determined by agency law.
                                             of regulating the business of insurance                 rule, exempt state Fair Access to                         The proposed rule cited Miller as an
                                             * * * unless such Act specifically                      Insurance Requirements (‘‘FAIR’’) plans,                  example of how a lender’s facially
                                                                                                     or establish safe harbors for certain risk-               neutral policy allowing employees and
                                             relates to the business of insurance.’’
                                                                                                     related factors.                                          mortgage brokers the discretion to price
                                             McCarran-Ferguson does not preclude                        HUD Response: Creating exemptions                      loans may be actionable under the Fair
                                             HUD from issuing regulations that may                   or safe harbors related to insurance is                   Housing Act. The decision in Miller is
                                             apply to insurance policies. Rather,                    unnecessary because, as discussed                         not inconsistent with the Supreme
                                             McCarran-Ferguson instructs courts on                   above, insurance practices with a legally                 Court’s ruling on agency in Meyer, and
                                             how to construe federal statutes,                       sufficient justification will not violate                 therefore HUD does not believe that the
                                             including the Act. How the Act should                   the Act. Moreover, creating exemptions                    final rule needs to be revised in
                                             be construed in light of McCarran-                      beyond those found in the Act would                       response to this comment.
                                             Ferguson depends on the facts at issue                  run contrary to Congressional intent.141                     Issue: Several commenters expressed
                                             and the language of the relevant State                     Issue: Another commenter stated that                   concern that adoption of the proposed
                                             law ‘‘relat[ing] to the business of                     the ‘‘burden of proof issues’’ are                        discriminatory effects standard would
                                             insurance.’’ Because this final rule does               difficult for insurers because they do not                lead to lawsuits challenging lenders’ use
                                             not alter the instruction of McCarran-                  collect data on race and ethnicity and                    of credit scores, other credit assessment
                                             Ferguson or its application as described                state insurance laws may prohibit the                     standards, or automated underwriting.
                                             in Ojo v. Farmers Group, it will not                    collection of such data.                                  A commenter stated that a lender’s
                                             interfere with any State regulation of the                 HUD Response: The burden of proof                      consideration of credit score or other
                                             insurance industry.                                     is not more difficult for insurers than for               credit assessment standards such as a
                                                Issue: Some commenters stated that                   a charging party or plaintiff alleging that               borrower’s debt-to-income ratio may
                                             liability for insurance practices based on              an insurance practice creates a                           have a disparate impact because of
                                             a disparate impact standard of proof is                 discriminatory effect. The charging                       demographic differences. This
                                             inappropriate because insurance is risk-                party or plaintiff must initially show the                commenter cited studies which indicate
                                             based and often based on a multivariate                 discriminatory effect of the challenged                   that borrowers who live in zip codes
                                             analysis. A commenter wrote that ‘‘to                   practice using appropriate evidence that                  with a higher concentration of
                                             avoid creating a disparate impact, an                   demonstrates the effect. If the charging                  minorities are more likely to have lower
                                             insurer would have to charge everyone                   party or plaintiff makes that showing,                    credit scores and fewer savings. A
                                             the same rate, regardless of risk,’’ or                 the burden shifts to the insurer to show                  commenter stated that credit scores are
                                             might be forced to violate state laws that              that the challenged practice is necessary                 often used as the determining factor in
                                             require insurance rates to be actuarially               to achieve one or more of its substantial,                a lender’s origination practices and that
                                             sound estimates of the expected value of                legitimate, nondiscriminatory interests.                  certain underwriting software and
                                             all future costs associated with an                        Issue: A commenter expressed                           investor securitization standards require
                                             individual risk transfer.                               concern that the rule may create strict                   a minimum credit score. The
                                                                                                     liability for entities complying with                     commenter further stated that HUD’s
                                               138 See, e.g., 24 CFR 100.70(d)(4) (Mar. 15, 1989)
                                                                                                     contractual obligations set by third                      Federal Housing Administration (FHA)
                                             (defining ‘‘other prohibited sale and rental            parties, including the federal                            program has recognized the value of
                                             conduct’’ to include ‘‘refusing to provide * * *        government.                                               credit scores in setting underwriting
                                             property or hazard insurance for dwellings or              HUD Response: The commenter                            standards for FHA insured loans.
                                             providing such * * * insurance differently’’            misconstrues the discriminatory effects
                                             because of a protected class); 53 FR 44,992, 44,997
                                                                                                                                                               According to the commenter, lenders
                                             (Nov. 7, 1988) (preamble to proposed regulations        standard, which permits a defendant or                    have little ability or desire to override
                                             stating that ‘‘discriminatory refusals to provide       respondent to defend against a claim of                   credit score standards, because manual
                                             * * * adequate property or hazard insurance * * *       discriminatory effect by establishing a                   underwriting is time consuming and
                                             has been interpreted by the Department and by           legally sufficient justification, as                      staff-intensive. Another commenter
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                                             courts to render dwellings unavailable’’).
                                               139 See Ojo v. Farmers Group, Inc., 600 F.3d at
                                                                                                     specified in § 100.500.                                   expressed concern that, even if a lender
                                             1208; NAACP v. American Family Mut. Ins. Co.,                                                                     was successful in defending its credit
                                             978 F.2d 287, 297–301 (7th Cir. 1993); Nationwide         140 Graoch, 508 F.3d at 374–75.
                                                                                                                                                               risk assessment practices under the
                                             Mut. Ins. Co. v. Cisneros, 52 F.3d 1351, 1355–1360        141 See Graoch, 508 F.3d at 375 (‘‘we cannot
                                                                                                                                                               burden-shifting approach, the lender
                                             (6th Cir. 1995). But see Mackey v. Nationwide Ins.      create categorical exemptions from [the Act]
                                             Cos., 724 F.2d 419, 423–25 (4th Cir. 1984) (pre-Fair    without a statutory basis’’ and ‘‘[n]othing in the text
                                                                                                                                                               would have to defend an expensive
                                             Housing Amendments Act and regulations pursuant         of the FHA instructs us to create practice-specific       lawsuit and suffer harm to its
                                             thereto holding that Act does not cover insurance).     exceptions’’).                                            reputation.


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                                                Commenters from the lending                          Policy Statement nearly 18 years ago,                     Other commenters expressed concern
                                             industry also stated that the rule may                  non-depository lenders, banks, thrifts,                about potential liability for
                                             have a chilling effect on lending in                    and credit unions have been on notice                  administrators of the federal Low
                                             lower income communities. A                             that federal regulatory and enforcement                Income Housing Tax Credit (LIHTC)
                                             commenter stated that the rule will                     agencies, including HUD and the                        program. These commenters reasoned
                                             create uncertainty in a skittish market,                Department of Justice, may apply a                     that the concentration of affordable
                                             so lenders will be cautious about                       disparate impact analysis in their                     housing stock in low-income areas,
                                             lending in lower income communities                     examinations and investigations under                  combined with federal requirements
                                             for fear of a legal challenge. Some of                  both the Fair Housing Act and ECOA.                    and incentives which encourage the
                                             these commenters reasoned that                          The regulations and Staff Commentary                   deployment of tax credits in low-income
                                             underwriting requirements and risk                      implementing ECOA also explicitly                      communities, may result in
                                             requirements pursuant to the Dodd-                      prohibit unjustified discriminatory                    discriminatory effects liability for
                                             Frank Wall Street Reform and Consumer                   effects.143 Thus, neither a chilling effect            agencies administering the LIHTC
                                             Protection Act (the Dodd-Frank Act                      nor a wealth of new lawsuits can be                    program. Several commenters asked
                                             (Pub. L. 111–203, approved July 21,                     expected as a result of this rule. Rather,             HUD to specify in the final rule that the
                                             2010)), such as ability to repay, down                  HUD anticipates that this rule will                    mere approval of LIHTC projects in
                                             payment requirements, and qualified                     encourage the many lenders and other                   minority areas alone does not establish
                                             residential mortgages, may result in a                  entities that already conduct internal                 a prima facie case of disparate impact
                                             disparate impact because of                             discriminatory effects analyses of their               under the Act or that locating LIHTC
                                             demographic differences. Another                        policies to review those analyses in light             projects in low-income areas is a legally
                                             commenter explained that the rule                       of the now uniform standard for a                      sufficient justification to claims of
                                             would eliminate in-portfolio mortgage                   legally sufficient justification found in              disparate impact discrimination. A
                                             loans at community banks, which                         § 100.500. Indeed, lender compliance                   commenter requested that HUD provide
                                             provide mortgage credit to borrowers                    should become somewhat easier due to                   guidance to such agencies.
                                             who may not qualify for a secondary                     the rule’s clear and nationally uniform                   HUD Response: HUD does not expect
                                             market transaction.                                     allocation of burdens and clarification                the final rule to have a chilling effect on
                                                HUD Response: HUD does not believe                   of the showings each party must make.                  the development and preservation of
                                             that the rule will have a chilling effect                  Issue: Some commenters expressed                    affordable housing because, as
                                             on lending in lower income                              concern that faced with the threat of                  discussed above, the rule does not
                                             communities or that it will encourage                   disparate impact liability, lenders might              establish a new form of liability, but
                                             lawsuits challenging credit scores, other               extend credit to members of minority                   instead serves to formalize by regulation
                                             credit assessment standards, or the                     groups who do not qualify for the credit.              a standard that has been applied by
                                             requirements of the Dodd-Frank Act. As                     HUD Response: The Fair Housing Act                  HUD and the courts for decades, while
                                             discussed above, the rule does not                      does not require lenders to extend credit              providing nationwide uniformity of
                                             change the substantive law; eleven                      to persons not otherwise qualified for a               application. The rule does not mandate
                                             federal courts of appeals have                          loan. As discussed previously, the final               that affordable housing be located in
                                             recognized discriminatory effects                       rule formalizes a standard of liability                neighborhoods with any particular
                                             liability under the Act and over the                    under the Act that has been in effect for              characteristic, but requires, as the Fair
                                             years courts have evaluated both                        decades. HUD is unaware of any lender                  Housing Act already does, only that
                                             meritorious and non-meritorious                         found liable under the discriminatory                  housing development activities not have
                                             discriminatory effects claims                           effects standard for failing to make a                 an unjustified discriminatory effect.
                                             challenging lending practices.142 As                    loan to a member of a minority group                      Concerns of a chilling effect on
                                             HUD has reiterated, the rule formalizes                 who did not meet legitimate                            affordable housing activities are belied
                                             a substantive legal standard that is well               nondiscriminatory credit qualifications.               by the prevalence of cases where the
                                             recognized by both courts and                              Issue: Several other commenters                     discriminatory effects method of proof
                                             participants in the lending industry for                expressed a concern that discriminatory                has been used by plaintiffs seeking to
                                             assessing claims of discriminatory                      effects liability might have a chilling                develop such housing 144 and even by
                                             effects. Indeed, in the lending context,                effect on efforts designed to preserve or              the less frequent instances where
                                             at least since the issuance of the Joint                develop affordable housing, including
                                                                                                                                                               144 See, e.g., Huntington Branch, 844 F.2d at 926
                                                                                                     pursuant to HUD’s own programs,
                                                                                                                                                            (reversing district court and finding Fair Housing
                                               142 Compare Ramirez v. GreenPoint Mortg.
                                                                                                     because much of the existing affordable                Act violations based on discriminatory effect of
                                             Funding, Inc., 633 F. Supp. 2d 922, 927–28 (N.D.        housing stock is located in areas of                   town’s refusal to rezone site for affordable housing);
                                             Cal. 2008) (holding that the Act permits disparate                                                             Greater New Orleans Fair Hous. Action Ctr. v. St.
                                             impact claims and finding that plaintiffs adequately    minority concentration. A commenter
                                                                                                                                                            Bernard Parish, 648 F. Supp. 2d 805 (E.D. La. 2009)
                                             pled a specific and actionable policy that had a        stated that resources designed to                      (finding parish’s subversion of attempts to develop
                                             disparate impact on members of a protected class);      support the development of affordable                  affordable housing had a discriminatory effect in
                                             Miller v. Countrywide Bank, N.A., 571 F. Supp. 2d       housing will be ‘‘deflect[ed]’’ away so as             violation of the Fair Housing Act); Dews v. Town
                                             251, 258 (D. Mass. 2008) (denying defendants                                                                   of Sunnyvale, 109 F. Supp. 2d 526 (N.D. Tex. 2000)
                                             motion to dismiss and finding that plaintiffs           to respond to claims of disparate impact
                                                                                                                                                            (finding that developer established Fair Housing
                                             adequately pled a specific and actionable policy, a     discrimination. Another commenter                      Act violation based on Town’s rejection of
                                             disparate impact, and facts raising a sufficient        requested that HUD issue guidance to                   development application under discriminatory
                                             inference of causation); and Hoffman v. Option One      the affordable housing industry as they                effects method); Sunrise Dev. v. Town of
                                             Mortg. Corp., 589 F. Supp. 2d 1009, 1011–12 (N.D.                                                              Huntington, 62 F. Supp. 2d 762 (E.D.N.Y. 1999)
                                             Ill. 2008) (holding that the Actpermits disparate       administer HUD programs.                               (finding the plaintiff had established prima facie
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                                             impact claims and finding that plaintiffs adequately                                                           case of discriminatory effect and granting
                                             pled a specific and actionable policy, a disparate         143 See 12 CFR 1002.6(a); 12 CFR part 1002, Supp.
                                                                                                                                                            preliminary injunction requiring town to consider
                                             impact, and facts raising a sufficient inference of     I, Official Staff Commentary, Comment 6(a)–2 ; see     plaintiff’s zoning application); Summerchase Ltd.
                                             causation), with Ng v. HSBC Mortgage Corp., No.         also Consumer Financial Protection Bureau Bulletin     Pshp. I v. City of Gonzales, 970 F. Supp. 522 (M.D.
                                             07–CV–5434, 2010 WL 889256, *12 (E.D.N.Y. Mar.          2012–04 (Apr. 18, 2012) (‘‘CFPB reaffirms that the     La. 1997) (denying defendant’s motion for summary
                                             10, 2010) (dismissing plaintiff’s claim of disparate    legal doctrine of disparate impact remains             judgment on developer’s claim that parish’s denial
                                             impact discrimination and finding that the claim        applicable as the Bureau exercises its supervision     of building permits for affordable housing
                                             was ‘‘alleged with little more than buzzwords and       and enforcement authority to enforce compliance        development had a discriminatory effect in
                                             conclusory labels’’).                                   with the ECOA.’’).                                     violation of the Fair Housing Act).


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                                             agencies administering affordable                       standard, which permits practices with                  fair lending efforts within the Bureau
                                             housing programs have been                              discriminatory effects if they are                      and with other federal and state
                                             defendants.145 Rather than indicating a                 supported by a legally sufficient                       agencies); id. section 1085 (transferring
                                             chilling effect, existing case law shows                justification. The standard thus                        regulatory authority for ECOA to the
                                             that use of the discriminatory effects                  recognizes that a practice may be lawful                Consumer Financial Protection Bureau).
                                             framework has promoted the                              even if it has a discriminatory effect.
                                                                                                                                                             G. Illustrations of Practices With
                                             development of affordable housing,                      HUD notes further that Congress created
                                                                                                                                                             Discriminatory Effects
                                             while allowing due consideration for                    various exemptions from liability in the
                                             substantial, legitimate,                                text of the Act,146 and that in light of                   Consistent with HUD’s existing Fair
                                             nondiscriminatory interests involved in                 this and the Act’s important remedial                   Housing Act regulations, which contain
                                             providing such housing. Moreover,                       purposes, additional exemptions would                   illustrations of practices that violate the
                                             recipients of HUD funds already must                    be contrary to Congressional intent.                    Act, the proposed rule specified
                                             comply with a variety of civil rights                      Issue: Several commenters expressed                  additional illustrations of such
                                             requirements. This includes the                         concern that in complying with the new                  practices. The November 16, 2011, rule
                                             obligation under Title VI of the Civil                  Dodd-Frank Act mortgage reforms,                        proposed to add illustrations to 24 CFR
                                             Rights Act of 1964 and its applicable                   including in determining that                           100.65, 100.70 and 100.120. The final
                                             regulations to refrain from                             consumers have an ability to repay, a                   rule revises these illustrations in the
                                             discrimination, either by intent or effect,             lender necessarily ‘‘will face liability                manner described below.
                                             on the basis of race, color, or national                under the Proposed Rule.’’                                 Because the illustrations in HUD’s
                                             origin; the obligation under the Fair                      HUD Response: HUD reiterates that                    existing regulations include practices
                                             Housing Act to affirmatively further fair               the lender is free to defend any                        that may violate the Act based on an
                                             housing in carrying out HUD programs;                   allegations of illegal discriminatory                   intent or effects theory, and proposed
                                             and HUD program rules designed to                       effects by meeting its burden of proof at               § 100.65(b)(6) describes conduct that is
                                             foster compliance with the Fair Housing                 § 100.500. Moreover, if instances were                  already prohibited in § 100.65(b)(4)—the
                                             Act and other civil rights laws. As                     to arise in which a lender’s efforts to                 provision of housing-related services—
                                             discussed throughout this preamble,                     comply with the Dodd-Frank Act were                     and § 100.70(d)(4)—the provision of
                                             allegations of discriminatory effects                   challenged under the Fair Housing Act’s                 municipal services—this final rule
                                             discrimination must be analyzed on a                    discriminatory effects standard of                      eliminates proposed § 100.65(b)(6). This
                                             case-by-case basis using the standards                  liability, those same activities most                   will avoid redundancy in HUD’s Fair
                                             set out in § 100.500. HUD will issue                    likely would be subject to a similar                    Housing Act regulations, and its
                                             guidance addressing the application of                  challenge under ECOA and Regulation                     elimination from the proposed rule is
                                             the discriminatory effects standard with                B, which also prohibit lending practices                not intended as a substantive change.
                                             respect to HUD programs.                                that have a discriminatory effect based                    Commenters raised the following
                                                Issue: Like commenters who                           on numerous protected                                   issues with respect to the proposed
                                             requested ‘‘safe harbors’’ or exemptions                characteristics.147 The Dodd-Frank Act                  rule’s illustrations of discriminatory
                                             for the insurance and lending                           created the Consumer Financial                          practices.
                                             industries, some commenters requested                   Protection Bureau to combat both unfair                    Issue: A commenter stated that the
                                             that the proposed rule be revised to                    and deceptive practices and                             examples specified by the proposed rule
                                             provide ‘‘safe harbors’’ or exemptions                  discriminatory practices in the                         describe the types of actions that the
                                             from liability for programs designed to                 consumer financial industry, and it gave                commenter’s ‘‘clients encounter
                                             preserve affordable housing or revitalize               the Consumer Financial Protection                       regularly.’’ Examples of potentially
                                             existing communities. A commenter                       Bureau authority to enforce                             discriminatory laws or ordinances cited
                                             requested that the final rule provide safe              ECOA.148 See Dodd-Frank Act sections                    by commenters include ordinances in
                                             harbors for state and local programs that               1402–1403 (enacting section 129B of the                 largely white communities that establish
                                             have legitimate policy and safety goals                 Truth in Lending Act ‘‘to assure that                   local residency requirements, limit the
                                             such as protecting water resources,                     consumers are offered and receive                       use of vouchers under HUD’s Housing
                                             promoting transit orientated                            residential mortgage loans on terms that                Choice Voucher program, or set large-lot
                                             development, and revitalizing                           reasonably reflect their ability to repay               density requirements. Commenters
                                             communities. Other commenters                           the loans and that are understandable                   suggested that language should be
                                             requested safe harbors or exemptions for                and not unfair, deceptive or abusive,’’                 added to proposed § 100.70(d)(5), which
                                             entities that are meeting requirements or               and, as part of that section, requiring the             provides, as an example,
                                             standards established by federal or state               Consumer Financial Protection Bureau                    ‘‘[i]mplementing land-use rules, policies
                                             law or regulation, such as the Federal                  to create regulations that prohibit                     or procedures that restrict or deny
                                             Credit Union Act, the Dodd-Frank Act,                   ‘‘abusive or unfair lending practices that              housing opportunities in a manner that
                                             HAMP and HARP, or by government-                        promote disparities among consumers of                  has a disparate impact or has the effect
                                             sponsored enterprises or investors.                     equal credit worthiness but of different                of creating, perpetuating, or increasing
                                                HUD Response: HUD does not believe                   race, ethnicity, gender, or age’’); see also            segregated housing patterns’’ based on a
                                             that the suggested safe harbors or                      Dodd-Frank Act section 1013(c)                          protected class. Commenters stated that
                                             exemptions from discriminatory effects                  (establishing the Consumer Financial                    this example should include not just the
                                             liability are appropriate or necessary.                 Protection Bureau’s Office of Fair                      word ‘‘implementing,’’ but also the
                                             HUD notes that, in seeking these                        Lending and Equal Opportunity to                        words ‘‘enacting’’ ‘‘maintaining,’’ and/or
                                             exemptions, the commenters appear to                    provide enforcement of fair lending                     ‘‘applying’’ because the discriminatory
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                                             misconstrue the discriminatory effects                  laws, including ECOA, and coordinate                    effect of a land-use decision may occur
                                                                                                                                                             from the moment of enactment. A
                                               145 Compare, e.g., In re Adoption of 2003 Low           146 See, e.g., 42 U.S.C. 3603(b)(1) (exempting from
                                                                                                                                                             commenter suggested that the word
                                             Income Housing Tax Credit Qualified Allocation          most of section 804 of the Act an owner’s sale or       ‘‘ordinances’’ should be added to the
                                             Plan, 369 N.J. Super. 2 (N.J. Sup. Ct. App. Div.        rental of his single-family house if certain
                                             2004) with Inclusive Cmtys. Project, Inc. v. Tex.       conditions are met).                                    example to make clear that the Act
                                             Dep’t of Hous. & Cmty. Affairs, 749 F. Supp. 2d 48        147 See 15 U.S.C. 1691 et seq; 12 CFR part 1002.      applies to all types of exclusionary land-
                                             (N.D. Tex. 2010).                                         148 See 12 U.S.C. 5491 et seq.                        use actions.


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                                                 HUD Response: HUD reiterates that                   housing provider’s or operator’s use of               showing, however, does not end the
                                             the illustrations contained in HUD’s                    criminal arrest or conviction records to              inquiry. The lender would have the
                                             regulations are merely examples. The                    exclude persons from housing is                       opportunity to refute the existence of
                                             scope and variety of practices that may                 supported by a legally sufficient                     the alleged impact and establish a
                                             violate the Act make it impossible to list              justification depends on the facts of the             substantial, legitimate,
                                             all examples in a rule. Nevertheless,                   situation. HUD believes it may be                     nondiscriminatory interest for the
                                             HUD finds it appropriate to revise                      appropriate to explore the issue more                 challenged practice, and the charging
                                             proposed § 100.70(d)(5) in this final rule              fully and will consider issuing guidance              party or plaintiff would have the
                                             in order to confirm that a land-use                     for housing providers and operators.                  opportunity to demonstrate that a less
                                             ordinance may be discriminatory from                       Issue: Several commenters suggested                discriminatory alternative is available to
                                             the moment of enactment. The final rule                 revisions to proposed § 100.120(b)(2),                the lender.
                                             therefore changes ‘‘[i]mplementing land-                which specifies as an example                            Issue: A commenter stated that HUD
                                             use rules, policies, or procedures * * *                ‘‘[p]roviding loans or other financial                should not add any of the new examples
                                             ’’ to ‘‘[e]nacting or implementing land-                assistance in a manner that results in                unless the final rule makes clear that the
                                             use rules, ordinances, policies, or                     disparities in their cost, rate of denial,            specified practices are not per se
                                             procedures * * * .’’ It is not necessary                or terms or conditions, or that has the               violations of the Act, but rather must be
                                             to add ‘‘maintaining’’ or ‘‘applying’’ to               effect of denying or discouraging their               assessed pursuant to the standards set
                                             § 100.70(d)(5) because the meaning of                   receipt on the basis of race, color,                  forth in § 100.500. According to the
                                             these words in this context is                          religion, sex, handicap, familial status,             commenter, the new examples may be
                                             indistinguishable from the meaning of                   or national origin.’’ These commenters                misconstrued because they state only
                                             ‘‘implementing.’’                                       stated that proposed § 100.120(b)(2)                  the initial finding described in
                                                 Because the illustrated conduct may                 does not contain language concerning                  § 100.500.
                                             violate the Act under either an intent                  the second type of discriminatory effect,                HUD Response: HUD agrees that,
                                             theory, an effects theory, or both, HUD                 i.e., creating, perpetuating or increasing            when a practice is challenged under a
                                             also finds it appropriate to replace ‘‘in               segregation. They urged HUD to add                    discriminatory effects theory, the
                                             a manner that has a disparate impact or                 language making clear that the provision              practice must be reviewed under the
                                             has the effect of creating, perpetuating,               of loans or other financial assistance                standards specified in § 100.500. The
                                             or increasing segregated housing                        may result in either type of                          final rule therefore adds a sentence to
                                             patterns’’ because of a protected                       discriminatory effect.                                the end of § 100.5(b), which makes clear
                                             characteristic with ‘‘otherwise make                       In addition, several commenters asked              that discriminatory effects claims are
                                             unavailable or deny dwellings because                   HUD to clarify that mortgage servicing                assessed pursuant to the standards
                                             of’’ a protected characteristic. As                     with a discriminatory effect based on a               stated in § 100.500.
                                             discussed in the ‘‘Validity of                          protected characteristic may violate the
                                             Discriminatory Effects Liability under                  Act.                                                  H. Other Issues
                                             the Act’’ section above, the phrase                        HUD Response: As discussed above,                     Issue: A commenter requested that
                                             ‘‘otherwise make unavailable or deny’’                  proposed § 100.120(b)(2) is revised in                HUD examine the overall compliance
                                             encompasses discriminatory effects                      the final rule to cover both intentional              burden of the regulation on small
                                             liability. This revised language,                       discrimination and discriminatory                     businesses, noting that Executive Order
                                             therefore, is broader because it describes              effects. HUD also agrees that residential             13563 requires a cost-benefit analysis.
                                             land-use decisions that violate the Act                 mortgage servicing is covered by the                     HUD Response: In examining the
                                             because of either a prohibited intent or                Act. It is a term or condition of a loan              compliance burden on small
                                             an unjustified discriminatory effect. The               or other financial assistance, covered by             institutions, the governing authority is
                                             final rule makes a similar revision to                  section 805 of the Act.149 Accordingly,               the Regulatory Flexibility Act, 5 U.S.C.
                                             each of the illustrations so they may                   the final rule adds a § 100.130(b)(3),                601 et seq., which provides, among
                                             cover violations based on intentional                   which provides an illustration of                     other things, that the requirements to do
                                             discrimination or discriminatory effects.               discrimination in the terms or                        an initial and final regulatory flexibility
                                                 Issue: A commenter requested that                   conditions for making available loans or              analysis ‘‘shall not apply to any
                                             HUD add as an example the practice of                   financial assistance, in order to show                proposed or final rule if the head of the
                                             prohibiting from housing individuals                    that discriminatory loan servicing (and               agency certifies that the rule will not, if
                                             with records of arrests or convictions.                 other discriminatory terms or conditions              promulgated, have a significant
                                             This commenter reasoned that such                       of loans and other financial assistance)              economic impact on a substantial
                                             blanket prohibitions have a                             violate the Act’s proscription on                     number of small entities.’’ Thus, the
                                             discriminatory effect because of the                    ‘‘discriminat[ing] * * * in the terms or              focus is on whether the rule—and not
                                             disproportionate numbers of minorities                  conditions of [a residential real estate-             the underlying statute or preexisting
                                             with such records. The commenter                        related transaction].’’                               administrative practice and case law—
                                             stated further that HUD should issue                       Issue: A commenter expressed                       will have a significant economic impact.
                                             guidance on this topic similar to                       concern that the language in proposed                 For this rule, the impact primarily arises
                                             guidance issued by the Equal                            § 100.120(b)(2) would allow for lawsuits              from the Fair Housing Act itself, not
                                             Employment Opportunity Commission.                      based only on statistical data produced               only as interpreted by HUD, but also as
                                             Another commenter expressed concern                     under HMDA.                                           interpreted by federal courts. Because
                                             that the rule would restrict housing                       HUD Response: HUD and courts have                  this final rule provides a uniform
                                             providers from screening tenants based                  recognized that analysis of loan level                burden-shifting test for determining
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                                             on criminal arrest and conviction                       data identified though HMDA may
                                             records. This commenter also asked                      indicate a disparate impact.150 Such a                LEXIS 48522 at *45 (W.D. Tenn. May 4, 2011);
                                             HUD to issue guidance to housing                                                                              Mayor and City Council of Baltimore v. Wells Fargo
                                                                                                       149 42 U.S.C. 3605. Discrimination in residential   Bank, N.A., No. JFM–08–62, 2011 U.S. Dist. LEXIS
                                             providers on appropriate background
                                                                                                     mortgage servicing may also violate § 804 of the      44013 (D. Md. April 22, 2011); Steele v. GE Money
                                             screening.                                              Act. 42 U.S.C. 3604.                                  Bank, No. 08–C–1880, 2009 U.S. Dist. LEXIS 11536
                                                 HUD Response: Whether any                             150 See City of Memphis and Shelby Cnty. v. Wells   (N.D. Ill. Feb. 17, 2009); Taylor v. Accredited Home
                                             discriminatory effect resulting from a                  Fargo, N.A., No. 09–2857–STA, 2011 U.S. Dist.         Lenders, Inc., 580 F. Supp. 2d 1062 (S.D. Cal. 2008).


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                                             whether a given action or policy has an                 annual effect on the economy of $100                  ‘‘Discriminatory Effect,’’ to its Fair
                                             unjustified discriminatory effect, the                  million or more or adversely affect in a              Housing Act regulations in 24 CFR part
                                             rule serves to reduce regulatory burden                 material way the economy, a sector the                100. Section 100.500 provides that the
                                             for all entities, large or small, by                    economy, productivity, competition,                   Fair Housing Act may be violated by a
                                             establishing certainty and clarity with                 jobs, the environment, public health or               practice that has a discriminatory effect,
                                             respect to how a determination of                       safety, or State, local or tribal                     as defined in § 100.500(a), regardless of
                                             unjustified discriminatory effect is to be              governments or communities.’’ As                      whether the practice was adopted for a
                                             made.                                                   stated in Section VII of this preamble                discriminatory purpose. The practice
                                                The requirement under the Fair                       below, this rule is not ‘‘economically                may still be lawful if supported by a
                                             Housing Act not to discriminate in the                  significant’’ within the meaning in                   legally sufficient justification, as
                                             provision of housing and related                        Executive 12866, and therefore a full                 defined in § 100.500(b). The respective
                                             services is the law of the nation. We                   benefit/cost assessment is not required.              burdens of proof for establishing or
                                             presume that the vast majority of                       This final rule does not alter the                    refuting an effects claim are set forth in
                                             entities both large and small are in                    established law that facially neutral                 § 100.500(c). Section 100.500(d) clarifies
                                             compliance with the Fair Housing Act.                   actions that have an unjustified                      that a legally sufficient justification may
                                             Furthermore, for the minority of entities               discriminatory effect are violations of               not be used as a defense against a claim
                                             that have, in the over 40 years of the                  the Fair Housing Act. What this rule                  of intentional discrimination. It should
                                             Fair Housing Act’s existence, failed to                 does is formalize that well-settled                   be noted that it is possible to bring a
                                             institutionalize methods to avoid                       interpretation of the Act and provide                 claim alleging both discriminatory effect
                                             engaging in illegal housing                             consistency in how such discriminatory                and discriminatory intent as alternative
                                             discrimination and plan to come into                    effects claims are to be analyzed.                    theories of liability. In addition, the
                                             compliance as a result of this                                                                                discriminatory effect of a challenged
                                             rulemaking, the costs will simply be the                VI. This Final Rule                                   practice may provide evidence of the
                                             costs of compliance with a preexisting                     For the reasons presented in this                  discriminatory intent behind the
                                             statute, administrative practice, and                   preamble, this final rule formalizes the              practice. This final rule applies to both
                                             case law. Compliance with the Fair                      longstanding interpretation of the Fair               public and private entities because the
                                             Housing Act has for almost 40 years                     Housing Act to include discriminatory                 definition of ‘‘discriminatory housing
                                             included the requirement to refrain from                effects liability and establishes a                   practice’’ under the Act makes no
                                             undertaking actions that have an                        uniform standard of liability for facially            distinction between the two.
                                             unjustified discriminatory effect. The                  neutral practices that have a
                                             rule does not change that substantive                                                                         3. Discriminatory Effect Defined
                                                                                                     discriminatory effect. Under this rule,               (§ 100.500(a))
                                             obligation; it merely formalizes it in                  liability is determined by a burden-
                                             regulation, along with the applicable                   shifting approach. The charging party or                 Section 100.500(a) provides that a
                                             burden-shifting framework.                              plaintiff in an adjudication first must               ‘‘discriminatory effect’’ occurs where a
                                                Variations in the well-established                   bear the burden of proving its prima                  facially neutral practice actually or
                                             discriminatory effects theory of liability              facie case of either disparate impact or              predictably results in a discriminatory
                                             under the Fair Housing Act, discussed                   perpetuation of segregation, after which              effect on a group of persons protected by
                                             earlier in the preamble, are minor and                  the burden shifts to the defendant or                 the Act (that is, has a disparate impact),
                                             making them uniform will not have a                     respondent to prove that the challenged               or on the community as a whole on the
                                             significant economic impact. The                        practice is necessary to achieve one or               basis of a protected characteristic
                                             allocation of the burdens of proof among                more of the defendant’s or respondent’s               (perpetuation of segregation). Any
                                             the parties, described in the rule, are                 substantial, legitimate,                              facially neutral action, e.g., laws, rules,
                                             methods of proof that only come into                                                                          decisions, standards, policies, practices,
                                                                                                     nondiscriminatory interests. If the
                                             play if a complaint has been filed with                                                                       or procedures, including those that
                                                                                                     defendant or respondent satisfies its
                                             HUD, a state or local agency or a federal                                                                     allow for discretion or the use of
                                                                                                     burden, the charging party or plaintiff
                                             or state court; that is, once an entity has                                                                   subjective criteria, may result in a
                                                                                                     may still establish liability by
                                             been charged with discriminating under                                                                        discriminatory effect actionable under
                                                                                                     demonstrating that these substantial,
                                             the Fair Housing Act. The only                                                                                the Fair Housing Act and this rule. For
                                                                                                     legitimate, nondiscriminatory interests
                                             economic impact discernible from this                                                                         examples of court decisions regarding
                                                                                                     could be served by a practice that has
                                             rule is the cost of the difference, if any,                                                                   policies or practices that may have a
                                                                                                     a less discriminatory effect.
                                             between defense of litigation under the                                                                       discriminatory effect, please see the
                                             burden-shifting test on the one hand,                   A. Discriminatory Effect—Subpart G                    preamble to the proposed rule at 76 FR
                                             and defense of litigation under the                                                                           70924–25.
                                             balancing or hybrid test on the other. In               1. Scope
                                             all the tests, the elements of proof are                  This final rule adds a new sentence to              4. Legally Sufficient Justification
                                             similar. Likewise, the costs to develop                 the end of paragraph (b) in § 100.5,                  (§ 100.500(b))
                                             and defend such proof under either the                  which states: ‘‘The illustrations of                     Section 100.500(b), as set forth in the
                                             burden-shifting or balancing tests are                  unlawful housing discrimination in this               regulatory text of this final rule,
                                             similar. The only difference is at which                part may be established by a practice’s               provides that a practice or policy found
                                             stage of the test particular evidence                   discriminatory effect, even if not                    to have a discriminatory effect may still
                                             must be produced. There would not,                      motivated by discriminatory intent,                   be lawful if it has a ‘‘legally sufficient
                                             however, be a significant economic                      consistent with the standards outlined                justification.’’
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                                             impact on a substantial number of small                 in § 100.500.’’
                                             entities as a result of this rule.                                                                            5. Burden of Proof (§ 100.500(c))
                                                Executive Order 13563 (Improving                     2. Discriminatory Effect Prohibited                      Under § 100.500(c), the charging party
                                             Regulations and Regulatory Review)                      (§ 100.500)                                           or plaintiff first bears the burden of
                                             reaffirms Executive Order 12866, which                    Consistent with HUD’s November 16,                  proving its prima facie case: that is, that
                                             requires that agencies conduct a benefit/               2011, proposed rule, this final rule adds             a practice caused, causes, or predictably
                                             cost assessment for rules that ‘‘have an                a new subpart G, entitled                             will cause a discriminatory effect on a


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                                             group of persons or a community on the                  directs agencies to propose or adopt a                may even help to minimize litigation in
                                             basis of race, color, religion, sex,                    regulation only upon a reasoned                       this area by establishing uniform
                                             disability, familial status, or national                determination that its benefits justify its           standards. With a uniform standard,
                                             origin. Once the charging party or the                  costs, emphasizes the importance of                   entities are more likely to conduct self-
                                             plaintiff has made its prima facie case,                quantifying both costs and benefits, of               testing and check that their practices
                                             the burden of proof shifts to the                       harmonizing rules, of promoting                       comply with the Fair Housing Act, thus
                                             respondent or defendant to prove that                   flexibility, and of periodically reviewing            reducing their liability and the risk of
                                             the practice is necessary to achieve one                existing rules to determine if they can               litigation. A uniform standard is also a
                                             or more substantial, legitimate,                        be made more effective or less                        benefit for entities operating in multiple
                                             nondiscriminatory interests of the                      burdensome in achieving their                         jurisdictions. Also, legal and regulatory
                                             respondent or defendant. If the                         objectives. Under Executive Order                     clarity generally serves to reduce
                                             respondent or defendant satisfies its                   12866 (‘‘Regulatory Planning and                      litigation because it is clearer what each
                                             burden, the charging party or plaintiff                 Review’’), a determination must be                    party’s rights and responsibilities are,
                                             may still establish liability by proving                made whether a regulatory action is                   whereas lack of consistency and clarity
                                             that these substantial, legitimate,                     significant and therefore, subject to                 generally serves to increase litigation.
                                             nondiscriminatory interests could be                    review by the Office of Management and                For example, once disputes around the
                                             served by another practice that has a                   Budget (OMB) in accordance with the                   court-defined standards are eliminated
                                             less discriminatory effect.                             requirements of the order. This rule was              by this rule, non-meritorious cases that
                                                                                                     determined to be a ‘‘significant                      cannot meet the burden under
                                             B. Illustrations of Practices With                      regulatory action’’ as defined in section             § 100.500(c)(1) are likely not to be
                                             Discriminatory Effects                                  3(f) of Executive Order 12866 (although               brought in the first place, and a
                                                This final rule adds or revises the                  not an economically significant                       respondent or defendant that cannot
                                             following illustrations of discriminatory               regulatory action, as provided under                  meet the burden under § 100.500(c)(2)
                                             housing practices:                                      section 3(f)(1) of the Executive Order).              may be more inclined to settle at the
                                                The final rule adds to § 100.70 new                     This rule formalizes the longstanding              pre-litigation stage.
                                             paragraph (d)(5), which provides as an                  interpretation of the Fair Housing Act to                Accordingly, while this rule is a
                                             illustration of other prohibited conduct                include discriminatory effects liability,             significant regulatory action under
                                             ‘‘[e]nacting or implementing land-use                   and establishes uniform, clear standards              Executive Order 12866 in that it
                                             rules, ordinances, policies, or                         for determining whether a practice that               establishes, for the first time in
                                             procedures that restrict or deny housing                has a discriminatory effect is in                     regulation, uniform standards for
                                             opportunities or otherwise make                         violation of the Fair Housing Act,                    determining whether a housing action
                                             unavailable or deny dwellings because                   regardless of whether the practice was                or policy has a discriminatory effect on
                                             of race, color, religion, sex, handicap,                adopted with intent to discriminate. As               a protected group, it is not an
                                             familial status, or national origin.’’                  stated in the Executive Summary, the                  economically significant regulatory
                                                Section 100.120, which gives                         need for this rule arises because,                    action. The burden reduction that HUD
                                             illustrations of discrimination in the                  although all federal courts of appeals                believes will be achieved through
                                             making of loans and in the provision of                 that have considered the issue agree that             uniform standards will not reach an
                                             other financial assistance, is                          Fair Housing Act liability may be based               annual impact on the economy of $100
                                             streamlined, and paragraph (b)(2) now                   solely on discriminatory effects, there is            million or more, because HUD’s
                                             reads as set forth in the regulatory text               a small degree of variation in the                    approach is not a significant departure
                                             of this final rule                                      methodology of proof for a claim of                   from HUD’s interpretation to date or
                                                In § 100.130, the final rule also                    effects liability. As has been discussed              that of the majority of federal courts.
                                             amends paragraph (b)(2) and adds new                    in the preamble to this rule, in                      Although the burden reduction
                                             paragraph (b)(3). The words ‘‘or                        establishing such standards HUD is                    provided by this rule will not result in
                                             conditions’’ is added after ‘‘terms,’’ and              exercising its rulemaking authority to                economically significant impact on the
                                             ‘‘cost’’ is added to the list of terms or               bring uniformity, clarity, and certainty              economy, it nevertheless provides some
                                             conditions in existing paragraph (b)(2).                to an area of the law that has been                   burden reduction through the
                                             New paragraph (b)(3) includes servicing                 approached by HUD and federal courts                  uniformity and clarity presented by
                                             as an illustration of terms or conditions               across the nation in generally the same               HUD’s standards promulgated through
                                             of loans or other financial assistance                  way, but with minor variations in the                 this final rule and is therefore consistent
                                             covered by section 805 of the Act:                      allocation of the burdens of proof.151 A              with Executive Order 13563.
                                             ‘‘Servicing of loans or other financial                 uniform rule would simplify                              The docket file is available for public
                                             assistance with respect to dwellings in                 compliance with the Fair Housing Act’s                inspection in the Regulations Division,
                                             a manner that discriminates, or                         discriminatory effects standard, and                  Office of the General Counsel, Room
                                             servicing of loans or other financial                   decrease litigation associated with such              10276, 451 7th Street SW., Washington,
                                             assistance which are secured by                         claims. By providing certainty in this                DC 20410–0500. Due to security
                                             residential real estate in a manner that                area to housing providers, lenders,                   measures at the HUD Headquarters
                                             discriminates, or providing such loans                  municipalities, realtors, individuals                 building, please schedule an
                                             or financial assistance with other terms                engaged in housing transactions, and                  appointment to review the docket file by
                                             or conditions that discriminate, because                courts, this rule would reduce the                    calling the Regulations Division at 202–
                                             of race, color, religion, sex, handicap,                burden associated with litigating                     708–3055 (this is not a toll-free
                                                                                                     discriminatory effect cases under the                 number). Individuals with speech or
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                                             familial status, or national origin.’’
                                                                                                     Fair Housing Act by clearly establishing              hearing impairments may access this
                                             VII. Findings and Certifications                        which party has the burden of proof,                  number via TTY by calling the Federal
                                             Regulatory Review—Executive Orders                      and how such burdens are to be met.                   Relay Service at 800–877–8339.
                                             13563 and 12866                                         Additionally, HUD believes the rule                   Regulatory Flexibility Act
                                               Executive Order 13563 (‘‘Improving                      151 See, e.g., the extensive discussion of the        The Regulatory Flexibility Act (RFA)
                                             Regulation and Regulatory Review’’)                     various options in Graoch, 508 F.3d at 371–375.       (5 U.S.C. 601 et seq.) generally requires


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                                             an agency to conduct a regulatory                       Environmental Impact                                  consistent with the standards outlined
                                             flexibility analysis of any rule subject to               This final rule sets forth                          in § 100.500.
                                             notice and comment rulemaking                           nondiscrimination standards.                          *     *    *     *     *
                                             requirements, unless the agency certifies               Accordingly, under 24 CFR 50.19(c)(3),
                                             that the rule will not have a significant               this rule is categorically excluded from              Subpart B—Discriminatory Housing
                                             economic impact on a substantial                        environmental review under the                        Practices
                                             number of small entities. For the                       National Environmental Policy Act of                  ■ 3. In § 100.70, add new paragraph
                                             reasons stated earlier in this preamble in              1969 (42 U.S.C. 4321).                                (d)(5) to read as follows:
                                             response to public comment on the
                                             issue of undue burden on small entities,                Executive Order 13132, Federalism
                                                                                                                                                           § 100.70    Other prohibited conduct.
                                             and discussed here, HUD certifies that                     Executive Order 13132 (entitled                    *     *     *    *     *
                                             this rule will not have significant                     ‘‘Federalism’’) prohibits an agency from                (d) * * *
                                             economic impact on a substantial                        publishing any rule that has federalism                 (5) Enacting or implementing land-use
                                             number of small entities.                               implications if the rule either: (i)                  rules, ordinances, policies, or
                                                                                                     Imposes substantial direct compliance                 procedures that restrict or deny housing
                                                It has long been the position of HUD,
                                                                                                     costs on state and local governments                  opportunities or otherwise make
                                             confirmed by federal courts, that                       and is not required by statute, or (ii)
                                             practices with discriminatory effects                                                                         unavailable or deny dwellings to
                                                                                                     preempts state law, unless the agency                 persons because of race, color, religion,
                                             may violate the Fair Housing Act. As                    meets the consultation and funding
                                             noted in the preamble to the proposed                                                                         sex, handicap, familial status, or
                                                                                                     requirements of section 6 of the                      national origin.
                                             rule (76 FR 70921) and this preamble to                 Executive Order. This final rule does
                                             the final rule, this long-standing                      not have federalism implications and                  Subpart C—Discrimination in
                                             interpretation has been supported by                    does not impose substantial direct                    Residential Real Estate-Related
                                             HUD policy documents issued over the                    compliance costs on state and local                   Transactions
                                             last decades, is consistent with the                    governments or preempt state law
                                             position of other Executive Branch                      within the meaning of the Executive                   ■ 4. In § 100.120, revise paragraph (b) to
                                             agencies, and has been adopted and                      Order.                                                read as follows:
                                             applied by every federal court of
                                             appeals to have reached the question.                   Unfunded Mandates Reform Act                          § 100.120 Discrimination in the making of
                                                                                                                                                           loans and in the provision of other financial
                                             Given, however, the variation in how                      Title II of the Unfunded Mandates                   assistance.
                                             the courts and even HUD’s own ALJs                      Reform Act of 1995 (2 U.S.C. 1531–
                                                                                                     1538) (UMRA) establishes requirements                 *     *     *     *     *
                                             have applied that standard, this final                                                                          (b) Practices prohibited under this
                                             rule provides for consistency and                       for federal agencies to assess the effects
                                                                                                     of their regulatory actions on state,                 section in connection with a residential
                                             uniformity in this area, and hence                                                                            real estate-related transaction include,
                                             predictability, and will therefore reduce               local, and tribal governments, and on
                                                                                                     the private sector. This final rule does              but are not limited to:
                                             the burden for all seeking to comply                                                                            (1) Failing or refusing to provide to
                                             with the Fair Housing Act. Furthermore,                 not impose any federal mandates on any
                                                                                                                                                           any person information regarding the
                                             HUD presumes that given the over 40-                    state, local, or tribal governments, or on
                                                                                                                                                           availability of loans or other financial
                                             year history of the Fair Housing Act, the               the private sector, within the meaning of
                                                                                                                                                           assistance, application requirements,
                                             majority of entities, large or small,                   the UMRA.
                                                                                                                                                           procedures or standards for the review
                                             currently comply and will remain in                     List of Subjects in 24 CFR Part 100                   and approval of loans or financial
                                             compliance with the Fair Housing Act.                     Civil rights, Fair housing, Individuals             assistance, or providing information
                                             For the minority of entities that have, in              with disabilities, Mortgages, Reporting               which is inaccurate or different from
                                             the over 40 years of the Fair Housing                   and recordkeeping requirements.                       that provided others, because of race,
                                             Act’s existence, failed to institutionalize                                                                   color, religion, sex, handicap, familial
                                                                                                       For the reasons discussed in the
                                             methods to avoid engaging in illegal                                                                          status, or national origin.
                                                                                                     preamble, HUD amends 24 CFR part 100
                                             housing discrimination and plan to                                                                              (2) Providing, failing to provide, or
                                                                                                     as follows:
                                             come into compliance as a result of this                                                                      discouraging the receipt of loans or
                                             rulemaking, the costs will simply be the                PART 100—DISCRIMINATORY                               other financial assistance in a manner
                                             costs of compliance with a preexisting                  CONDUCT UNDER THE FAIR HOUSING                        that discriminates in their denial rate or
                                             statute. The rule does not change that                  ACT                                                   otherwise discriminates in their
                                             substantive obligation; it merely sets it                                                                     availability because of race, color,
                                             forth in a regulation. While this rule                  ■ 1. The authority citation for 24 CFR                religion, sex, handicap, familial status,
                                             provides uniformity as to specifics such                part 100 continues to read as follows:                or national origin.
                                             as burden of proof, HUD’s rule does not                     Authority: 42 U.S.C. 3535(d), 3600–3620.          ■ 5. In § 100.130, revise paragraph (b)(2)
                                             alter the substantive prohibitions                                                                            and add new paragraph (b)(3) to read as
                                             against discrimination in fair housing                  Subpart A—General                                     follows:
                                             law, which were established by statute                                                                        § 100.130 Discrimination in the terms and
                                                                                                     ■ 2. In § 100.5, add the following
                                             and developed over time by                                                                                    conditions for making available loans or
                                                                                                     sentence at the end of paragraph (b):
                                             administrative and federal court case                                                                         other financial assistance.
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                                             law. Any burden on small entities is                    § 100.5   Scope.                                      *     *    *     *     *
                                             simply incidental to the pre-existing                   *     *    *    *      *                                (b) * * *
                                             requirements to comply with this body                     (b) * * * The illustrations of                        (2) Determining the type of loan or
                                             of law. Accordingly, the undersigned                    unlawful housing discrimination in this               other financial assistance to be provided
                                             certifies that this final rule will not have            part may be established by a practice’s               with respect to a dwelling, or fixing the
                                             a significant economic impact on a                      discriminatory effect, even if not                    amount, interest rate, cost, duration or
                                             substantial number of small entities.                   motivated by discriminatory intent,                   other terms or conditions for a loan or


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                                             other financial assistance for a dwelling                  (a) Discriminatory effect. A practice              proving that a challenged practice
                                             or which is secured by residential real                 has a discriminatory effect where it                  caused or predictably will cause a
                                             estate, because of race, color, religion,               actually or predictably results in a                  discriminatory effect.
                                             sex, handicap, familial status, or                      disparate impact on a group of persons                   (2) Once the charging party or
                                             national origin.                                        or creates, increases, reinforces, or                 plaintiff satisfies the burden of proof set
                                                (3) Servicing of loans or other                      perpetuates segregated housing patterns               forth in paragraph (c)(1) of this section,
                                             financial assistance with respect to                    because of race, color, religion, sex,                the respondent or defendant has the
                                             dwellings in a manner that                              handicap, familial status, or national                burden of proving that the challenged
                                             discriminates, or servicing of loans or                 origin.                                               practice is necessary to achieve one or
                                             other financial assistance which are                       (b) Legally sufficient justification. (1)          more substantial, legitimate,
                                             secured by residential real estate in a                 A legally sufficient justification exists             nondiscriminatory interests of the
                                             manner that discriminates, or providing                 where the challenged practice:                        respondent or defendant.
                                             such loans or financial assistance with                    (i) Is necessary to achieve one or more               (3) If the respondent or defendant
                                             other terms or conditions that                          substantial, legitimate,                              satisfies the burden of proof set forth in
                                             discriminate, because of race, color,                   nondiscriminatory interests of the                    paragraph (c)(2) of this section, the
                                             religion, sex, handicap, familial status,               respondent, with respect to claims                    charging party or plaintiff may still
                                             or national origin.                                     brought under 42 U.S.C. 3612, or                      prevail upon proving that the
                                                                                                     defendant, with respect to claims                     substantial, legitimate,
                                             ■ 6. In part 100, add a new subpart G                   brought under 42 U.S.C. 3613 or 3614;                 nondiscriminatory interests supporting
                                             to read as follows:                                     and                                                   the challenged practice could be served
                                                                                                        (ii) Those interests could not be                  by another practice that has a less
                                             Subpart G—Discriminatory Effect                         served by another practice that has a                 discriminatory effect.
                                             § 100.500    Discriminatory effect prohibited.          less discriminatory effect.                              (d) Relationship to discriminatory
                                                                                                        (2) A legally sufficient justification             intent. A demonstration that a practice
                                                Liability may be established under the               must be supported by evidence and may                 is supported by a legally sufficient
                                             Fair Housing Act based on a practice’s                  not be hypothetical or speculative. The               justification, as defined in paragraph (b)
                                             discriminatory effect, as defined in                    burdens of proof for establishing each of             of this section, may not be used as a
                                             paragraph (a) of this section, even if the              the two elements of a legally sufficient              defense against a claim of intentional
                                             practice was not motivated by a                         justification are set forth in paragraphs             discrimination.
                                             discriminatory intent. The practice may                 (c)(2) and (c)(3) of this section.
                                             still be lawful if supported by a legally                  (c) Burdens of proof in discriminatory               Dated: February 8, 2013.
                                             sufficient justification, as defined in                 effects cases. (1) The charging party,                John Trasviña,
                                             paragraph (b) of this section. The                      with respect to a claim brought under 42              Assistant Secretary for Fair Housing and
                                             burdens of proof for establishing a                     U.S.C. 3612, or the plaintiff, with                   Equal Opportunity.
                                             violation under this subpart are set forth              respect to a claim brought under 42                   [FR Doc. 2013–03375 Filed 2–14–13; 8:45 am]
                                             in paragraph (c) of this section.                       U.S.C. 3613 or 3614, has the burden of                BILLING CODE 4210–67–P
TKELLEY on DSK3SPTVN1PROD with RULES3




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